             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.1 Page 1 of 71




              1
                  ELIZABETH A. SPERLING - State Bar No. 231474
                    esperling@glaserweil.com
              2
                  ALEXANDER R. MILLER - State Bar No. 294474
                    amiller@glaserweil.com
              3
                  JACK DAY – State Bar No. 324516
                   jday@glaserweil.com
              4
                  GLASER WEIL FINK HOWARD
                   JORDAN & SHAPIRO LLP
              5
                  501 W. Broadway, 8th Floor
                  San Diego, CA 92101
              6
                  Telephone: (619) 765-4380
                  Facsimile: (619) 483-0646
              7
                  Attorneys for Defendants
              8
                  Caydon San Diego Property LLC; Caydon USA
                  Holding LLC; Caydon USA Property Group,
              9
                  LLC; and Alex Beaton

             10
                                     UNITED STATES DISTRICT COURT
             11
                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                           CASE NO.: '23CV1296 DMS KSC
             12
GlaserWeil




                  THE PEOPLE OF THE STATE OF
             13   CALIFORNIA and CITY OF SAN
                  DIEGO, a municipal corporation,          DEFENDANTS’ NOTICE OF
             14                                            REMOVAL
                                         Plaintiffs,
             15
                  v.
             16
                  CAYDON SAN DIEGO PROPERTY
             17   LLC, a Delaware Limited Liability
                  Company; CAYDON USA HOLDING
             18   LLC, a Texas Foreign Limited Liability
                  Company and a Delaware Limited
             19   Liability Company; CAYDON USA
                  PROPERTY GROUP, LLC, a Delaware
             20   Limited Liability Company; MATTHEW
                  HUTTON, Receiver and Manager of
             21   CAYDON USA PROPERTY GROUP
                  HOLDINGS PTY LTD; ALEX
             22   BEATON, an individual; and DOES 1
                  through 50, inclusive,
             23
                                         Defendants.
             24

             25

             26

             27

             28
                                                         1
                                            DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.2 Page 2 of 71




              1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
              2   SOUTHERN DISTRICT OF CALIFORNIA AND TO PLAINTIFFS THROUGH
              3   THEIR COUNSEL OF RECORD:
              4           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
              5   Defendants Caydon San Diego Property LLC (“Caydon San Diego”), Caydon USA
              6   Holding LLC (“Caydon USA Holding”), Caydon USA Property Group LLC (“Caydon
              7   USA Property Group”), and Alex Beaton (“Mr. Beaton”) (collectively, “Defendants”)
              8   hereby remove the above-captioned action from the Superior Court of the State of
              9   California for the County of San Diego, which is the judicial district in which the action
             10   is pending, to the United States District Court for the Southern District of California.
             11                                     INTRODUCTION
             12           1.   Plaintiffs bring this duplicative action in a transparent attempt to
GlaserWeil




             13   circumvent this Court’s jurisdiction. Just days after dismissing their prior action against
             14   Defendants, Plaintiffs filed a near-identical complaint in State Court that mirrored the
             15   original complaint but for the addition of Alex Beaton as a defendant. But Mr. Beaton
             16   is nothing more than a sham defendant in this action, included only for the purpose of
             17   attempting to destroy diversity.         The Court should see through Plaintiffs’
             18   gamesmanship and disregard Mr. Beaton for diversity purposes.              This action is
             19   removable for the same reasons that Defendants removed the prior action on June 1,
             20   2023, and Plaintiffs have succeeded only in wasting the time, efforts, and resources of
             21   everyone involved.
             22                             PROCEDURAL BACKGROUND
             23           2.   On April 27, 2023, Plaintiffs filed a complaint in the Superior Court of the
             24   State of California, County of San Diego, entitled The People of the State of California,
             25   et al. v. Caydon San Diego Property LLC, et al., Case No. 37-2023-00017820-CU-MC-
             26   CTL (the “Original Action”). The Original Action included every Defendant named in
             27   this action with the exception of Mr. Beaton.
             28
                                                             2
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.3 Page 3 of 71




              1           3.   On June 1, 2023, Defendants timely removed the Original Action to the
              2   United States District Court for the Southern District of California on the basis of
              3   diversity jurisdiction under 28 U.S.C. § 1332. The Original Action was Case No. 3:23-
              4   cv-1020-LAB-DDL assigned to the Honorable Larry Alan Burns. See Original Action,
              5   Dkt. 1.
              6           4.   On June 9, 2023, Plaintiffs filed a Notice of Voluntary Dismissal of the
              7   Original Action in the United States District Court for the Southern District of
              8   California. See id., Dkt. 8. On June 14, 2023 the Court dismissed the Original Action
              9   without prejudice in its entirety. See id., Dkt. 9.
             10           5.   Then on June 12, 2023, Plaintiffs commenced this action by filing an
             11   almost identical complaint (the “Complaint”) against Defendants in the Superior Court
             12   of the State of California, County of San Diego, entitled The People of the State of
GlaserWeil




             13   California, et al. v. Caydon San Diego Property LLC, et al., Case No. 37-2023-
             14   00024446-CU-MC-CTL (the “Present Action”).            A true and correct copy of the
             15   Complaint is attached hereto as Exhibit 4.
             16           6.   The only difference between the Original Action and the Present Action is
             17   that Plaintiffs added Mr. Beaton—a California resident—as a Defendant. Plaintiffs did
             18   not acknowledge—either by filing a notice of related case or noting the Original Action
             19   in the Complaint—that the Present Action is a near replica of the Original Action.
             20           7.   On June 14, 2023, Plaintiffs served Caydon San Diego through its
             21   registered agent for service with a copy of the Complaint.
             22           8.   On June 14, 2023, Plaintiffs served Mr. Beaton personally with a copy of
             23   the Complaint.
             24           9.   On June 16, 2023, Plaintiffs served Caydon USA Holding and Caydon
             25   USA Property Group through their respective registered agents for service with a copy
             26   of the Complaint.
             27   ///
             28
                                                             3
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.4 Page 4 of 71




              1           10.   Plaintiffs have not yet served Matthew Hutton, who is a citizen and
              2   resident of Australia and must be served pursuant to the Hague Service Convention in
              3   Australia.
              4           11.   The Complaint alleges two causes of action: (1) maintenance of a public
              5   nuisance in violation of California Civil Code sections 3479 and 3480; and (2)
              6   numerous violations of the San Diego Municipal Code.
              7           12.   Defendants have not previously appeared in the Present Action, filed any
              8   responsive pleadings, or otherwise litigated any merits of the case.
              9                                       THE PARTIES
             10           13.   Mara W. Elliott, City Attorney for the City of San Diego, brings this action
             11   on behalf of Plaintiffs the People of the State of California and the City of San Diego.
             12           14.   Plaintiff City of San Diego is a municipal corporation and a charter city,
GlaserWeil




             13   organized and existing under the laws of the State of California. Plaintiffs are citizens
             14   of the State of California.
             15           15.   Defendant Caydon San Diego is a Delaware Limited Liability Company
             16   with its principal place of business in Houston, Texas. Caydon USA Holding is the
             17   sole member of Caydon San Diego. Caydon San Diego is a citizen of the States of
             18   Delaware and Texas.
             19           16.   Defendant Caydon USA Holding is a Delaware Limited Liability
             20   Company with its principal place of business in Houston, Texas. Caydon USA Property
             21   Group is the sole member of Caydon USA Holding. Caydon USA Holding is a citizen
             22   of the States of Delaware and Texas.
             23           17.   Defendant Caydon USA Property Group is a Delaware Limited Liability
             24   Company with its principal place of business in Houston, Texas. Caydon USA Property
             25   Group Holdings Pty Ltd is the sole member of Caydon USA Property Group Pty Ltd.
             26   Caydon USA Holding is a citizen of the States of Delaware and Texas and of the
             27   country of Australia.
             28
                                                             4
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.5 Page 5 of 71




              1           18.    Caydon USA Property Group Holdings Pty Ltd is a citizen of the country
              2   of Australia, as it is an Australian company with its principal place of business in
              3   Australia.
              4           19.    Newly-added Defendant Mr. Beaton is a citizen of the State of California
              5   who resides in the State of California.
              6           20.    Defendants are the only named defendants in the action who have been
              7   served to date and all of them join in and consent to this removal.1
              8                               SUMMARY OF COMPLAINT
              9           21.    Plaintiffs allege that Defendants use and maintain three buildings (“the
             10   Property”) in downtown San Diego in violation of state and local San Diego ordinance
             11   provisions and as a public nuisance.
             12           22.    Specifically, Plaintiffs allege two causes of action against Defendants:
GlaserWeil




             13   (1) maintenance of a public nuisance in violation of California Civil Code sections 3479
             14   and 3480; and (2) violations of the San Diego Municipal Code.
             15           23.    Plaintiffs seek injunctive relief and damages pursuant to California Code
             16   of Civil Procedure sections 526 and 731 and San Diego Municipal Code sections
             17   12.0202 and 121.0311.
             18               DIVERSITY JURISDICTION EXISTS UNDER 28 U.S.C. § 1332
             19           24.    This Court has original jurisdiction over this action and the action may be
             20   removed to this Court pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
             21           25.    Diversity jurisdiction under 28 U.S.C. § 1332(a)(1) exists because this
             22   action is between citizens of different states and the amount in controversy exceeds
             23   $75,000 exclusive of interest and costs.
             24   1
                    Matthew Hutton has not been served and is therefore not required to join in the petition
             25   for removal. See Emrich v. Touche Ross & Co, 846 F.2d 1190, 1193 n.1 (9th Cir. 1988)
                  (recognizing the “general rule” that all defendants in a state action must join in the
             26   petition for removal applies “only to defendants properly joined and served in the
                  action.”). Nonetheless, Mr. Hutton is a citizen and resident of Australia and therefore
             27   his presence in this case would not destroy complete diversity between the parties. Mr.
                  Hutton is neither lawfully admitted for permanent residence in the United States nor
             28   domiciled in the United States. 28 U.S.C. § 1332(a)(2).
                                                              5
                                                 DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.6 Page 6 of 71




              1           26.   Diversity jurisdiction also exists under 28 U.S.C. § 1332(a)(2) because this
              2   action is between citizens of a State and citizens or subjects of a foreign state (Australia)
              3   and the amount in controversy exceeds $75,000, exclusive of interest and costs.
              4   The Notice Of Removal Is Timely
              5           27.   Plaintiffs served Caydon San Diego and Mr. Beaton on June 14, 2023 and
              6   Caydon USA Holding and Caydon USA Property Group on June 16, 2023.
              7           28.   Because this Notice of Removal is filed within 30 days of service of the
              8   Complaint, it is timely pursuant to 28 U.S.C. § 1446(b)(1).
              9   Complete Diversity Exists Between Plaintiffs And Defendants
             10           29.   For diversity purposes, a corporation is deemed a citizen of its state of
             11   incorporation and the state where it has its principal place of business. 28 U.S.C.
             12   § 1332(c)(1). A limited liability company is deemed to have the citizenship of each of
GlaserWeil




             13   its members. See Johnson v. Columbia Properties Anchorage, LP, 437 F.3d 894, 899
             14   (9th Cir. 2006). A person is a citizen of the state in which he or she is domiciled.2 See
             15   Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088 (9th Cir. 1983). The citizenship of
             16   Defendants sued under fictitious names “shall be disregarded” per 28 U.S.C.
             17   § 1441(b)(1).
             18           30.   Complete diversity exists between Plaintiffs, on the one hand, and
             19   Defendants, on the other hand, because both Plaintiffs are citizens of California and
             20   Defendants are citizens of Delaware, Texas, and Australia. See 28 U.S.C. § 1332(a).
             21           31.   At the time of filing the Complaint and this Notice of Removal, Plaintiffs
             22   were and are citizens of the State of California. See Exhibit 4 ⁋⁋ 4-5.
             23           32.   Defendant Caydon San Diego is a limited liability company. Its sole
             24   member is Caydon USA Holding LLC, which is a Delaware company with its principal
             25   place of business in Houston, Texas.
             26
                  2
             27     28 U.S.C. § 1332(a)(2) provides an alternative basis of federal jurisdiction for cases
                  such as this involving non-United States citizens who are citizens or subjects of a
             28   foreign state.
                                                              6
                                                 DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.7 Page 7 of 71




              1           33.   Defendant Caydon USA Holding is a limited liability company. Its sole
              2   member is Caydon USA Property Group LLC, which is a Delaware company with its
              3   principal place of business in Houston, Texas.
              4           34.   Defendant Caydon USA Property Group is a limited liability company.
              5   Its sole member is Caydon USA Property Group Holdings Pty Ltd, which is an
              6   Australian company with its principal place of business in Australia.
              7   Alex Beaton Is A Sham Defendant Whose Citizenship Should Be Disregarded
              8           35.   Plaintiffs wrongly attempt to circumvent Defendants’ removal rights by
              9   adding California resident, Alex Beaton, as a defendant.           As described above,
             10   Defendants timely removed the Original Action to the United States District Court for
             11   the Southern District of California on June 1, 2023 on the basis of diversity jurisdiction
             12   under 28 U.S.C. § 1332. Shortly thereafter, on June 9, 2023, Plaintiffs filed a Notice
GlaserWeil




             13   of Voluntary Dismissal. Just three days later, on June 12, 2023, Plaintiffs commenced
             14   the Present Action by filing an almost identical complaint in the Superior Court of the
             15   State of California, County of San Diego. The only distinguishing factor between the
             16   Original Action and the Present Action is that Plaintiffs added Alex Beaton as a
             17   Defendant. Plaintiffs include no additional factual allegations specific to Mr. Beaton.
             18           36.   It is clear from the face of the Complaint that Plaintiffs added Mr. Beaton
             19   for the sole purpose of defeating diversity jurisdiction and therefore his citizenship
             20   should be disregarded for jurisdiction purposes. See McCabe v. General Foods Corp.,
             21   811 F.2d 1336, 1339 (9th Cir. 1987) (disregarding the presence of “sham” California-
             22   resident defendants for purposes of diversity jurisdiction). The Complaint makes no
             23   material allegations against Mr. Beaton and it is clear from its face that Mr. Beaton is
             24   a “sham” defendant who was fraudulently joined by Plaintiffs in the Present Action in
             25   a transparent attempt to defeat diversity. See Brown v. Allstate Ins. Co., 17 F.Supp.2d
             26   1134, 1136-37 (S.D. Cal. 1998) (holding that certain California-resident defendants
             27   were “fraudulently joined” to defeat diversity where the complaint named those
             28
                                                             7
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.8 Page 8 of 71




              1   California defendants in the caption and headings of some causes of action but included
              2   no material allegations against those defendants.”).
              3           37.   Plaintiffs do not even attempt to disguise their blatant forum-shopping
              4   efforts. They include just one allegation in the Present Action that is specific to Mr.
              5   Beaton, and that allegation is incorrect. The Complaint describes Mr. Beaton as the
              6   “manager of the Property that is the subject of the dispute.” Exhibit 4 ⁋ 10. But that is
              7   false. See Declaration of Alexander P. Beaton (“Beaton Decl.”), ⁋⁋ 3-4. Mr. Beaton is
              8   not a property manager or in the property management business. Id., ¶ 3. He is not the
              9   property manager for the Property nor has he ever been formally appointed as its
             10   property manager. Id., ¶ 4.
             11           38.   Mr. Beaton is not an employee or representative of the Caydon
             12   Defendants. Id., ¶ 2. Because he is located in San Diego, he has occasionally assisted
GlaserWeil




             13   Caydon San Diego Property LLC (“Caydon San Diego”) with certain discrete tasks that
             14   its management have asked him to provide in relation to the Property on an as-needed
             15   basis. Id., ¶ 5. He is only authorized to act on the instruction of Caydon San Diego and
             16   its management with respect to any tasks related to the Property. Those tasks have been
             17   very discrete and limited in scope. Id. Mr. Beaton’s role with respect to the Property
             18   in all the time he has had anything to do with it has not been more than this. Id.
             19           39.   Mr. Beaton is certainly not a “Responsible Person” with respect to the
             20   Property, as defined by Section 11.0210 of the San Diego Municipal Code, as he does
             21   not satisfy any of the elements of that term. Id., ¶ 6.
             22           40.   There is simply no basis whatsoever for Mr. Beaton to be a named
             23   defendant in this action. Id., ¶ 7.
             24           41.   Plaintiffs do not plead any facts sufficient to state a claim against Mr.
             25   Beaton for (1) maintenance of a public nuisance in violation of California Civil Code
             26   sections 3479 and 3480 or for (2) violations of the San Diego Municipal Code. Nor
             27   could they amend the Complaint to do so, such that leave to amend would be futile.
             28
                                                             8
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.9 Page 9 of 71




              1   Id., ¶ 7.
              2           42.   Mr. Beaton is clearly a sham defendant. If Plaintiffs truly believed that
              3   Mr. Beaton is liable or is a Responsible Person or has some affiliation with the Caydon
              4   Defendants, they would have named him as a defendant in the Original Action. If
              5   Plaintiffs genuinely forgot to include Mr. Beaton as a party, they could have simply
              6   amended the Complaint in the Original Action to add him. Plaintiffs also could have
              7   “DOE’d in” Mr. Beaton, as they name 50 Doe Defendants. The fact that Plaintiffs
              8   dismissed the Original Action, then re-filed the identical Complaint in State Court with
              9   the sole difference being the addition of Mr. Beaton as a party, makes transparent
             10   Plaintiffs’ attempt to avoid federal jurisdiction.
             11           43.   Therefore, for diversity purposes, the Present Action is no different from
             12   the Original Action and complete diversity exists between Plaintiffs and Defendants.
GlaserWeil




             13   The Amount in Controversy Exceeds $75,000
             14           44.   A defendant attempting to remove a diversity case must show by a
             15   preponderance of the evidence that the amount in controversy requirement is satisfied.
             16   See Gibson v. Chrysler Corp., 261 F.3d 927, 933 (9th Cir. 2001). The “notice of
             17   removal need include only a plausible allegation that the amount in controversy exceeds
             18   the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574
             19   U.S. 81, 89 (2014).
             20           45.   The Ninth Circuit defines the amount in controversy as “the amount at
             21   stake in the underlying litigation.” Theis Research, Inc. v. Brown & Bain, 400 F.3d
             22   659, 662 (9th Cir. 2005). The amount at stake includes not only damages but also “the
             23   cost of complying with an injunction.” Gonzales v. CarMax Auto Superstores, LLC,
             24   840 F.3d 644, 648-49 (9th Cir. 2016).
             25           46.   Although Defendants deny liability as to Plaintiffs’ claims, based on the
             26   face of the Complaint and the requested damages, the case easily satisfies the amount
             27   in controversy requirement for removal. The assertions of Defendants herein are
             28
                                                             9
                                                DEFENDANTS’ NOTICE OF REMOVAL
                  2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.10 Page 10 of 71




               1   limited to their preliminary understanding of Plaintiffs’ claims and the data currently
               2   available to Defendants.
               3           47.   Plaintiffs allege that Defendants use and maintain the Property in violation
               4   of state and local San Diego ordinance provisions and as a public nuisance. Plaintiffs
               5   make numerous allegations concerning the safety and structural soundness of the
               6   Property. See, e.g., Exhibit 4 ⁋⁋ 18, 99.
               7           48.   Plaintiffs seek a preliminary and permanent injunction “enjoining and
               8   restraining Defendants . . . from maintaining the Property or any other property in the
               9   City and County of San Diego as a public nuisance as defined per California Civil Code
              10   sections 3479 and 3480.” Exhibit 4, Prayer ⁋ 2. Per the Complaint, “[i]f Defendants
              11   fail to comply,” then “within 48 hours after posting written notice of its intention, the
              12   City or its contractor is authorized . . . to accomplish the work and recover all costs of
GlaserWeil




              13   abating the nuisance at the Property.” Id., Prayer ⁋ 3. Plaintiffs ultimately seek
              14   demolition of the Property. Demolition of a property of this nature will cost several
              15   million dollars.
              16           49.   Plaintiffs also seek a preliminary and permanent injunction enjoining
              17   Defendants from “keeping, allowing, or maintaining violations of the [San Diego]
              18   Municipal Code at the Property or anywhere else in the City of San Diego” and
              19   requiring Defendants “to maintain the Property in full compliance with the Municipal
              20   Code.” Id., Prayer ⁋⁋ 5, 6. Per the Complaint, “[i]f Defendants fail to comply” with
              21   the requested injunction, “then within 48 hours after posting written notice of its
              22   intention, the City or its contractor is authorized to accomplish the work and recover
              23   all costs of bringing the Property into compliance.” Id., Prayer ⁋ 7. Once again, this
              24   means demolition, which will cost several million dollars.
              25           50.   The cost of complying with the injunction sought by Plaintiffs would far
              26   exceed $75,000. The Property was built almost 100 years ago and has been vacant
              27   since 1990. Plaintiffs allege that the Property contains significant structural defects
              28
                                                             10
                                                 DEFENDANTS’ NOTICE OF REMOVAL
                   2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.11 Page 11 of 71




               1   that impact both the interior and exterior of the Property, including “severely weakened
               2   and corroded roof trusses” that “require prompt shoring and repair or demolition to
               3   avert potential collapse.” Id. ⁋ 21. Plaintiffs also allege that “toxic materials” exist at
               4   the Property, including “[a]pproximately 4,500 square feet of pipe and tank insulation
               5   in horrible condition.” Id. ⁋ 20. To restore, rehabilitate, and bring the Property into
               6   compliance with the terms of the requested injunction would cost Defendants millions
               7   of dollars. In addition to the parts and materials that would be required to undertake
               8   such work, Defendants would need to pay extensive labor costs for a project that will
               9   take years to complete.
              10           51.   In addition to the injunction costs, Plaintiffs also seek civil penalties of
              11   $2,500 per day for each and every Municipal Code violation maintained at the Property.
              12   Id., Prayer ⁋ 9. Because Plaintiffs allege that Defendants are in violation of eleven San
GlaserWeil




              13   Diego Municipal Code sections, it would take just three days for the civil penalties
              14   sought by Plaintiffs to exceed $75,000. Id., Prayer ⁋ 4; See Chavez v. JPMorgan Chase
              15   & Co., 888 F.3d 413, 418 (9th Cir. 2018) (“[T]he amount in controversy includes all
              16   relief claimed at the time of removal to which the plaintiff would be entitled if she
              17   prevails.”). The City seeks well beyond $75,000 in civil penalties.
              18           52.   Based on the nature of Plaintiffs’ claims and the relief sought, the amount
              19   in controversy exceeds $75,000, exclusive of interest and costs.
              20                                           VENUE
              21           53.   The United States District Court for the Southern District of California is
              22   the proper venue for removal pursuant to 28 U.S.C. § 1441(a) because the action is
              23   pending in the Superior Court of the State of California for the County of San Diego,
              24   which is a county embraced by the Southern District of California. 28 U.S.C. § 84(d).
              25                          COMPLIANCE WITH 28 U.S.C. § 1446
              26           54.   No previous application has been made for the relief requested herein in
              27   the Present Action. The Original Action was successfully removed.
              28
                                                             11
                                                 DEFENDANTS’ NOTICE OF REMOVAL
                   2300252.2
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.12 Page 12 of 71




               1           55.   Pursuant to 28 U.S.C. § 1446(a), copies of all pleadings, process, and
               2   orders served on Defendants in the State Action must be attached to the Notice of
               3   Removal.
               4           56.   Accordingly, a true and correct copy of the following documents are
               5   attached:
               6                 Exhibit 1: Appendix of State Court Filings
               7                 Exhibit 2: Civil Case Cover Sheet
               8                 Exhibit 3: Summons
               9                 Exhibit 4: Complaint
              10                 Exhibit 5: Notice of Case Assignment and Case Management Conference
              11                 Exhibit 6: Electronic Filing Requirements
              12                 Exhibit 7: Alternative Dispute Resolution (ADR) Information
GlaserWeil




              13                 Exhibit 8: General Order of the Presiding Department
              14           57.   Pursuant to 28 U.S.C. § 1446(d), Defendants will serve Plaintiffs and file
              15   with the Clerk of the Superior Court of California for the County of San Diego a written
              16   Notice of Filing Notice of Removal, attaching a copy of this Notice of Removal and all
              17   supporting papers.
              18                               RESERVATION OF RIGHTS
              19           58.   Defendants deny the allegations of liability in Plaintiffs’ Complaint and
              20   file this Notice of Removal without waiving any defenses, objections, exceptions, or
              21   obligations that may exist in its favor in either state or federal court.
              22   ///
              23   ///
              24   ///
              25   ///
              26   ///
              27   ///
              28
                                                              12
                                                  DEFENDANTS’ NOTICE OF REMOVAL
                   2300252.2
              Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.13 Page 13 of 71




                1           WHEREFORE, based on the foregoing, this Court has diversity jurisdiction
                2   over this action pursuant to 28 U.S.C. §§ 1332 and 1441 and Defendants respectfully
                3   remove this action from the Superior Court of the State of California for the County of
                4   San Diego to this Court.
                5

                6
                     DATED: July 14, 2023                  GLASER WEIL FINK HOWARD
                                                            JORDAN & SHAPIRO LLP
                7

                8
                                                           By:
                9                                                Attorneys for Defendants
                                                                 Caydon San Diego Property LLC; Caydon
               10                                                USA Holding LLC; Caydon USA Property
                                                                 Group, LLC; and Alex Beaton
               11

               12
Glaser Weil




               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
                                                             13
                                                 DEFENDANTS’ NOTICE OF REMOVAL
                    2300252.2
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.14 Page 14 of 71




         EXHIBIT 1
         Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.15 Page 15 of 71




             1    ELIZABETH A. SPERLING - State Bar No. 231474
                  esperling@glaserweil.com
             2    ALEXANDER R. MILLER - State Bar No. 294474
                  amiller@glaserweil.com
             3    JACK DAY – State Bar No. 324516
                  jday@glaserweil.com
             4    GLASER WEIL FINK HOWARD
                    JORDAN & SHAPIRO LLP
             5    501 W. Broadway, Suite 800
                  San Diego, CA 92101
             6    Telephone: (619) 765-4380
                  Facsimile: (619) 483-0646
             7
                  Attorneys for Defendants
             8    Caydon San Diego Property LLC; Caydon
                  USA Holding LLC; Caydon USA Property
             9    Group LLC; and Alex Beaton
             10

             11                      UNITED STATES DISTRICT COURT

             12                    SOUTHERN DISTRICT OF CALIFORNIA
GlaserWeil




             13   THE PEOPLE OF THE STATE OF                 CASE NO.:
                  CALIFORNIA and CITY OF SAN
             14   DIEGO, a municipal corporation,
                                                             DEFENDANTS’ APPENDIX OF
             15                    Plaintiffs,               STATE COURT FILINGS
             16   v.
             17   CAYDON SAN DIEGO PROPERTY
                  LLC, a Delaware Limited Liability
             18   Company; CAYDON USA HOLDING
                  LLC, a Texas Foreign Limited Liability
             19   Company and a Delaware Limited
                  Liability Company; CAYDON USA
             20   PROPERTY GROUP, LLC, a Delaware
                  Limited Liability Company; MATTHEW
             21   HUTTON, Receiver and Manager of
                  CAYDON USA PROPERTY GROUP
             22   HOLDINGS PTY LTD; ALEX
                  BEATON, an individual; and DOES 1
             23   through 50, inclusive,
             24                    Defendants.
             25

             26

             27

             28


                                   DEFENDANTS’ APPENDIX OF STATE COURT FILINGS
                  2287442

                                                                                 Exhibit 1
                                                                                   Page 1
             Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.16 Page 16 of 71




              1                        APPENDIX OF STATE COURT FILINGS
              2
                               DOCUMENT                           DATED               EXHIBIT
              3
                   Civil Case Cover Sheet                  Filed: June 12, 2023           2
              4

              5    Summons                                 Filed: June 12, 2023           3
              6    Complaint                               Filed: June 12, 2023           4
              7
                   Notice of Case Assignment and Case      Filed: June 12, 2023           5
              8
                   Management Conference
              9
                   Electronic Filing Requirements          Filed: June 12, 2023           6
              10

              11   Alternative Dispute Resolution          Filed: June 12, 2023           7
              12   (ADR) Information
GlaserWeil




              13   General Order of the Presiding          Filed: March 11, 2021          8
              14   Department
              15

              16

              17
                    DATED: July 14, 2023                 Respectfully submitted,
              18
                                                         GLASER WEIL FINK HOWARD
              19                                         JORDAN & SHAPIRO LLP
              20
                                                           /s/ Elizabeth A. Sperling
              21
                                                         Elizabeth A. Sperling
              22                                         Attorneys for Defendants Caydon San Diego
                                                         Property LLC; Caydon USA Holding LLC;
              23
                                                         Caydon USA Property Group LLC; and Alex
              24                                         Beaton
              25

              26

              27

              28

                                                             2
                                       DEFENDANTS’ APPENDIX OF STATE COURT FILINGS
                   2287442

                                                                                         Exhibit 1
                                                                                           Page 2
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.17 Page 17 of 71




         EXHIBIT 2
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.18 Page 18 of 71

                                                                                                                                                  CM-010
  -6._TTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number, and address):                                    FOR COURT USE ONLY
       MARA W. ELLIOTT, City Attorney
        PAIGEE. FOLKMAN, Assistant City Attorney
        DAVIDE. MILLER, Deputy City Attorney CA State Bar #174469                                     ELECTRONICALLY FILED
       1200 Third Avenue, Suite 700, San Diego, CA 92101                                               Superior Court of California,
                                                                                                          Cm.mty of San Diego
          TELEPHONE NO. 619 533-5500                            FAX NO.: 619 533-5505
    ATTORNEY FOR /Name) Plaintiffs People of the State of CA and City of San Diego                       0611212023 at 1 D :06. :3.1 �w'I
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego                                                    Clerk of ti'le Superior Court
        srnEET ADDREss: 330 W. Broadway                                                              By Brandon Krause, Deputy Clerk
       MAILING ADDREss: 330 W. Broadway
       c1TY AND z1P coDE: San Diego, CA 92101
            BRANCH NAME: Central/ Hall of Justice
      CASE NAME: The People of the State of California and City of San Diego, a
      municipal corporation v. Caydon San Diego Property LLC., et al.
        CIVIL CASE COVER SHEET                          Complex Case Designation            CASE
                                                                                                 37-2023-00024446- CU-MC- CTL
        Unlimited
        (Amount
                              Limited
                              (Amount
                                                        D Counter           D Joinder
                                                                                             JUDGE:
        demanded              demanded is          Filed with first appearance by defendant         Judge Kenneth J M:!del
        exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:
                                    Items 1-6 below must be completed (see instructions on paqe 2).
   1. Check one box below for the case type that best describes this case:

       □ Auto                                        □ Rule
       Auto Tort                                    Contract                               Provisionally Complex Civil Litigation

       □ Uninsured motorist (46)                     □ Other3.740                          □ Antitrust/Tradedefect
                (22)                                   Breach of contracUwarranty (06)     (Cal. Rules of Court, rules 3.400-3.403)

                                                                                           □ Construction
                                                                                                                 regulation (03)
                                                     □ Insurance
                                                                    collections (09)

                                                                                           □
                                                                                                                      (10)
                                                     □
       Other PI/PD/WD (Personal Injury/Property               collections (09)

       □ Asbestosliability                                                                 □ Environmental/Toxic
       Damage/Wrongful Death) Tort                                                             Mass tort (40)
                                                     □ Other contract (37)
                                                                   coverage (18)

       □ Product
                      (04)
                                                                                           □
                                                                                               Securities litigation (28)

       □ Other
                           (24)
                                                                                           □
                                                                                                                       tort (30)
                                                     □
                                                    Real Property

       □
         Medical malpractice (45)                      Eminent domain/Inverse                  Insurance coverage claims arising from the

                                                     □
                 PI/PD/WD (23)                         condemnation (14)                       above listed provisionally complex case
                                                                                               types (41)
         Business tort/unfair business practice (07) □
       □ Civil
       Non-Pl/PD/WO (Other) Tort                       Wrongful eviction (33)

                                                                                           □ Enforcement of judgment (20)
                                                                                           Enforcement of Judgment

       □ Defamation
                                                       Other real property (26)

       □ Fraud (16) (13)                             □ Residential (32)
               rights (08)                          Unlawful Detainer

                                                                                           □ Other
                                                                                           Miscellaneous Civil Complaint
                                                     □ Drugs (38)
                                                       Commercial     (31)
       □ Intellectual property (19)                  □
                                                                                               RICO (27)
       □ Professional negligence (25)                                                      [g1       complaint  (not specified above)(42)
       □                                             □ Asset
                                                    Judicial Review
                                                                                           □ Partnership and corporate governance(43)(21)
                                                                                           Miscellaneous Civil Petition

       □ Other non-PI/PD/WD tort (35)                  Petition re: arbitration award (11) □ Other petition
                                                     □ Writ
                                                              forfeiture (05)
                                                                                                                 (not specified above)

       □ wrongful                                    □ of mandate (02}
       Employment

       □ Other employment (15)                       □ Other judicial review (39)
                     termination (36)

  2. This case         is D [gl is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
     a.      D Large number of separately represented parties d.        D
                                                                       Large number of witnesses
     b.      D Extensive motion practice raising difficult or novel e.  D
                                                                       Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve           in other counties, states, or countries, or in a federal court
     c.      D Substantial amount of documentary evidence           f.  D
                                                                       Substantial postjudgment judicial supervision
  3. Remedies sought (check all that apply): a. [gl monetary b. [gl nonmonetary; declaratory or injunctive relief                    c.   D punitive
  4. Number of causes of action (specify): Two (2)
  5. This case          D
                       is [gl is not a class action suit
  6. If there are any known related cases, file and serve a notice of related
  Date: June 12, 2023
         David E. Miller, Deputy City Attorney
                          TYPE OR PRINT NAME
                                                                         NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                    Pa e 1 of 2

  Form Adopted for Mandatory Use                                                                      Cal. Rules of Court. rules 2.30. 3.220. 3.400-3.403, 3.740;
    Judicial Council of California                  CIVIL CASE COVER SHEET                                    Cal. Standards of Judicial Administration, std. 3.10
     CM•010 [Rev. July 1, 2007]                                                                                                             www.courtinfo.ca.go1t




                                                                                                                                                  Exhibit 2
                                                                                                                                                    Page 3
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.19 Page 19 of 71

                                                                                                                                            CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must complete
 and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile statistics
 about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check one box for
 the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1, check the
 more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action. To assist you
 in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover sheet must be
 filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its counsel, or
 both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
 The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case
 will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the case
 is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by completing
 the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the complaint
 on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the plaintiffs
 designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that the case
 is complex.
                                                              CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                          Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                         Contract (not unlawful detainer              Construction Defect (10)
            case involves an uninsured                               or wrongful eviction)                 Claims Involving Mass Tort (40)
            motorist claim subject to                     Contract/Warranty Breach-Seller                  Securities Litigation (28)
            arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
            instead of Auto)                              Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                               Warranty                                       (arising from provisionally complex
 Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                    case type listed above) (41 )
 Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                       book accounts) (09)                              Enforcement of Judgment (20)
         Asbestos Property Damage                         Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
         Asbestos Personal Injury/                        Other Promissory Note/Collections                       County)
               Wrongful Death                                  Case                                           Confession of Judgment (non­
      Product Liability (not asbestos or              Insurance Coverage (not provisionally                        domestic relations)
          toxic/environmental) (24)                       complex) (18)                                        Sister State Judgment
      Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
         Medical Malpractice­                             Other Coverage                                           (not unpaid taxes)
               Physicians & Surgeons                  Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                   Contractual Fraud                                         Judgment on Unpaid Taxes
               Malpractice                                Other Contract Dispute                               Other Enforcement of Judgment
      Other PI/PD/WD (23)                          Real Property                                                   Case
         Premises Liability (e.g., slip               Eminent Domain/Inverse                           Miscellaneous Civil Complaint
         and fall)                                       Condemnation (14)                                 RICO (27)
         Intentional Bodily Injury/PD/WO              Wrongful Eviction (33)                               Other Complaint (not specified
               (e.g., assault, vandalism)             Other Real Property (e.g., quiet title) (26)            above) (42)
         Intentional Infliction of                       Writ of Possession of Real Property                  Declaratory Relief Only
               Emotional Distress                        Mortgage Foreclosure                                 Injunctive Relief Only (non-
         Negligent Infliction of                         Quiet Title                                               harassment)
               Emotional Distress                        Other Real Property (not eminent                      Mechanics Lien
         Other PI/PD/WD                                   domain, landlord/tenant, or                          Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                                foreclosure)                                            Case (non-tort/non-complex)
      Business Tort/Unfair Business                Unlawful Detainer                                           Other Civil Complaint
         Practice (07)                                Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,             Residential (32)                                 Miscellaneous Civil Petition
         false arrest) (not civil                     Drugs (38) (if the case involves illegal             Partnership and Corporate
         harassment) (08)                                 drugs, check this item; otherwise,                   Governance (21)
      Defamation (e.g., slander, libel)                   report as Commercial or Residential)             Other Petition (not specified
         (13)                                      Judicial Review                                             above) (43)
      Fraud (16)                                      Asset Forfeiture (05)                                    Civil Harassment
      Intellectual Property (19)                      Petition Re: Arbitration Award ( 11)                     Workplace Violence
      Professional Negligence (25)                    Writ of Mandate (02)                                     Elder/Dependent Adult
         Legal Malpractice                                Writ-Administrative Mandamus                              Abuse
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                       Election Contest
              (not medical or legal)                           Case Matter                                     Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                        Writ-Other Limited Court Case                        Petition for Relief From Late
Employment                                                     Review                                               Claim
      Wrongful Termination (36) Other                 Other Judicial Review (39)                               Other Civil Petition
        Employment (15)                                   Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                               Commissioner Appeals
CM-010 [Rev. July 1, 2007]                          CIVIL CASE COVER SHEET                                                                     Page 2 of 2

                                                                                                                                 American LegalNet, Inc.
                                                                                                                                 www.FormsWorkflow.com




                                                                                                                                             Exhibit 2
                                                                                                                                               Page 4
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.20 Page 20 of 71




         EXHIBIT 3
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.21 Page 21 of 71


                                                                                                                                                                                             S U M .1 00
                                                     SUMMONS                                                                                       FOK COURT US/ii: onL 'f
                                                                                                                                               (SOLO PMM I/SO ll£ LA CORTE)
                                              (CI TA CION JUDICIA L)
  NOTI C E TO D E F E N DA NTS : CAYDON SAN I E G O PRO P E RTY tLC, a elawa re Ll mrte d
 (A VISO A L DEMA NDA DO): Ua b l ht 1( Company; CAY DON USA H OLDI NG LlC, a Te1<a.s                                                     E LEC TRONICAL LY FILED
 Fore ign Umlte d l.fab m ; Com pany a d a De la wa re 1 .hnited IJa bi lity Con pany; CAYL>O N U SA                                        l;;u��ri11r
                                                                                                                                            .           Cc11.1rt i:,f        r
                                                                                                                                                                        l i1 .imi;i ,
 PROP ER T I G RO UP, llC, ii D e l awa r e Li m lt�d Llab l l l Ly Com pa n y; MA TT H E W HUTTON, rieceiver                                    Co, unt � -.i f Siiln Oi e!R�
                                                                                                                                                     1



 a 11d M a r 1 a11er Df CAY D ON USA P' RO P E R T Y G R O U P l iO I N G 5 P TY L T ; A.�l:X a E ,"I TO N, a n
 l . ndM du.ii; � ml OOE:$ th rou gh So, I riclus1ve                                                                                         OGtt �'.l:� IJ � l � t i.1 :tJ l, :37 �
 YOU A.RE BE ING SUEb BY P LAI NTI F FS :                                                                                                    Chut � f 1 I, · ·�up 1, r i0t " Ouurt
  (LO E S TA DEMANDANDO EL DEMA NDA/1/TE):                                                                                              B \t Br.lrtd!',11 1'.tu Lliii! . O epi.rl 'I C li r �
 TH E P EO P L E O F T H E S TAT E OF CAIJ F O R N IA a nd C I T Y O F SAN DIEGO , a
 munic i pal corporation

   N O T ICE[ You hav13 b e.en sued. T he c�ur t ay d!fclde i'IE!alnst you wlOiout your oei ng tie a rd u n less you respo nd within 30 tlaya. Re ad the informa tio
   be low .
        You h ,w� 30 CA!..ENDAR, DAY S a rter t h ts su mmo m and leg a I papers a re s crvod on y ou to fil� a wrlllGn respo11se at this court a nd h ave a copy
   seived on t he plainti ff . A letter or p h one call will n ot prote;;;t you , Your written response n ust be in pro i; e r legal form If ,•o u wa t the cou rt to he.ir you r
   case. Ther e rnay be a court for tha! you ca n use tor ya u r re sp o11se.. You can nd lhese cou1t orms a d more in formation a t tl1e Callfo nia Courts
   On lii1A Sel f- Hel p Cente r ( LVW�'. co urlfnfo. ca. go v/sefflle lp) 1 you r ooun ty l:iw llbra , or the cc u house Ga re�l you. If yo1.l can n ot pay tho filing fee , ask
   U1e co�ir t cl@r k for a ree wa l vm For m . 1r you, do r i;-t file your respo se on time, you �y lose tile cEtse by defa u lt, a ll d you r wages, m o• n ey, and p roperty
      ft Y be tall.en wiU1 out f,urll,er w .aming fr om the court.
       T here, a.re, ,o&ie, r legal requlromrmts. Y,CIU ma y wa 11t to call a,n at to rney right a wa �•- l f yov do noHmow an eitorriey., you may Mli'll lo call an a ttorne }'
   , ete r rnl se r ,1ice . l 'f yo i1 c.annot affo r d a n attome y , you ma y b 1H1llg lb le for free leg al se r.o ices from a nonprofit egal s -e TV [c�s prc,g ram . You ca n r{lca te
   ,h ese nonp rofit g r oups al the C aJifornja Legal ServlC6s Web s ite { ,lflA'w. la wl-,e!f)va!ifomia. org) , ihe C alifornia Co u rts Online Sal f- l·+e-l p C a rte r
   ( www. courJlnlo. ca .govlso (help), or by co iaoiing your local court or cou t >• ba r associat ion . NOTE : Tll G cou rt tuis a $taluto ry lie for wa l veci fees a a
   costs on .a ny se!tle men or arbit ra tion awa rd cf $ 1 0, 0 00 or m om I ll .i c ivif CB.Se. e court's l ie n must be paid befo re lhe cou rt 111'111 d i im1iss tho case .
   rA V!S01 Lo lla1 1 cf6mall dEJdo. Sf no responde de-n!r o oo 30 dfas, la co11rJ. f>LJii'dft de r::idf.r e11 1,0 contra sin esc;ur::har sti version Lea fa riforma cf6n e
   conllm1a c/611.
        T iene 30 DIAS DE Cl liENDAR/0 rkJspugs de que , e e1 1 tmguen esr� r::1/eoion y pape le s lsga /es para pres.e11 tar !.tno!l rnspue s(a fl(lr e scrilo on e �a
   �-one y hfl{;er q ue se et?/Yeg L� una copia al a'eman da11te. U mi carl,a a w1;i 1/(}m.i r;Ja te le f6nlce no lo pro(f1g&n. Su re spoeslEJ por e scrito tiene que estnr
   lln formJto /9gal cnrre oJo sj ,rfes eo que pro cesen .sc, oeoo er la oorte. Es posibJo que hay-a un fomwf[l(fo q()s usJed pua da usar para st1 ro sp ,.1esta.
   Pue de encon trar eslos fom lufe r/os c.'8 la c.i-rl e y mas ln {ormac.r6n en el C9ntm de . l\ yu da c!e- l8s Corl,e.s de Cfllifomla fmtw. suoo ,r !e.c.i .go v), en /a
   lv'bllo lft�a rl� /eyes de su oon dw:Jo o en la C01te que lfJ que de mas co rco. &' no· p()e(!e pagw le f',JJO/a r/e pte'Sfm,tw:i6n, p ,'de al se.crotarlO <le ,'a corle
   QIJO Jo de un form!J f.trlo do e xencit'.in do pago dfJ ouolas. sr no p rfr SfmtB su re 51x10s t11 ll tlempo, pua dtt po rdar e l c.aso p or in wm r>fim lMlo y la corte la
   podm qui!ar su so eldo, dlnero y bienes f!ln mas a dvB, ten rJa,
        H.£Jy o tro.s re qu/sito1, l1:J,g.rfes. Es roco!lWrl d1i ble (![l e flame B w, aliogac(o fnm1:J dl.ar.:,m Mki. SI no .c o.rioc e .1 (}(I s/xJga do, p ci e de 1/emar D. un s erv!c/o rie
   rem is.'on a f!Jbog oclo s. SI no p11 ede pag ar a un a b og a do, es pos!ble (/ufi w r rrpf8' 00/I /os rn q L1 ofsi los para O1Jte r1e r NrvJ'clas l.! ga�f, gr oluilos a'o un
   p,,ugrama de ser vlcfos /eg Rles sin f.ines de f1J c10. Puo do G nco.•1tr:ar estos gropos sin flries de Mero en el sr tio veb de C elffoml.a Lago/ Servic e s,
   {1W1w .l awh.e lpca llFo rnia.o rg), en el Cllnt ro de Ayode de IRS C<;rtes de Ca lifornia, �ww. sucorte .ca .go"J) o porilen aose en ccn lact.o ,con la c.or/.e o el
   coieg/o de eboga.dos locales. A VISO: Por , toy, la corie {limo dGreC'J;o a- re-:;lamEJr la s ClJoias y los r;ostos exentos pol' Jm, ooner un gra vame11 sobre
    wa/quler reGt1p.i r nct6n de $1 0, 000 ci mas Gfe vefor reciblda merfla1Jta un ac1,m rdo o una co r?CGS,'o rl dft orbilraje en cm ceoo cle dercc/1 0 cM!. Tiene qus
          ar el r£J vam.en de lr1 C.{)rto onJes dR or+ Ta corte tlede de tJchl'l.r el ca.so_.__ __ ___
 The name and address of the co urt ls:                                                                                              c:P.aE Nut11aE1x:
 (Ef nombrn y direccf6n de la corte es).·                                                                                             37 - 20 23,0 00 24445 - C U -MC• C T L
 Supe rio r Court of Ca l fomla , Co u 11ty of Sa n Dlego
                                           r
 3 30 W. B roadway , S a i Dieg o , Ca liforn i a 92 1 0 1




  The n ame, address, and te l.ephone nu m be r of plai ntif f 's aU.□mey , or pla intiff wfthoul a n attorn ey , is:
  (El nombre, la direccf 6n y el m1mer o de teiefono de/ abogado def domandante , o del <leman dante que no tiene abof]8 do, es):
 iM ara W. Elli ott, C ity Attorn ey , David E . M"ller, Deputy City Attorn ey, Office of the C ty Attorn ey
                                                                                                             i
   ·1 200 Th ird Avenue, S u i te 700 , San Dieg o, CA 92 1 0 1 Te leph one; 6 1 9 -533-5500 Fax: 6 1 9.5 3 3· - 5 505

 DA TE :
 (Fecha}
                  0611 31'20:23                                                                 Cferk, by
                                                                                                (Secret.i1 'io)
                                                                                                                       /3 ��   B. Kr a use
                                                                                                                                                                        ___ , Dep uty
                                                                                                                                                                             (A d/unto)

 (For proof of serv.'ce uf t/1/s summoM, use Proof of Service of Summons (form POS -0 10} .)
 (Para prue.oo de enlrega <le esra c.rtat/6n use el formv/erfo Proo f o f Se .rviui o f Summon s , (POS-010)).
  [SEALI                             N OTIC E TO TH E P ERSON SERVE D: You are se r '-..red
            .--.....                 1.                D
                                              as an individl1al de fendant.
                                    2.    D as the pe rson su ed under t l1e ficlili ous name of (specif y ):
                                                                                      .
                                                        rl or \ beha lf of (spec1fy); L i
                                                                                             C aydo n San D ieg o Prop er ty L LC , a De la wa re L i mited
                                                3.      �                                 a b i l ity Co m pan y
                                                     u nder;      D  C C P 4 16. 1 0 (corporatio n}                                     D
                                                                                                                 CC P 4 ' f 6.6O (m inor)
                                                                   D  C C P 4 16.20 (dafunol corporation)                               D
                                                                                                                 C CP 41 6.70 (conservale e)
                                                                   D  CCP 4 1 6. 40 (associatio or pa rtnership)                        D
                                                                                                                 CCP 4 1 6.90 (a uU1orlzed person)
                                                             0       other (specify); Lim ited Liability Co mpany
                                               4.     D by perso n:a delivery on (dale):
                                                                           t


  F<ltt'll ,\o oDte� !er Ma 110\!f.� rr U&a                                               S UMMON S                                                         C<>:ID � r c."'1 Prnc0dl1re W§ 11 12.20 4 ,O
     >.t� l�l;i Cm"'" of C�ll' omla                                                                                                                                              't-i'WN.l�i1t'J t 1 l {C l ,Ga',!OCJ/
    SUM- 11}1l }[.R <r1•. r J�y 1. 2009]




                                                                                                                                                                                                 Exhibit 3
                                                                                                                                                                                                   Page 5
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.22 Page 22 of 71


                                                                                     Del ive red � -=l.....,l.�
                                                                                                              �--=-
                                                                                                                 20""'=
                                                                                                                       =-------s----'-
                                                                                                                                 u=      -1 oo
                                                                                                                                       M....c:.
                                                                                                                                                                            ..:::..-=,
                                             S U MMONS                                                                         - FOR COUR T USELAONLY
                                    (CfTA C/ON JLJD/C/AL}                             _ 7-V 5,c_<Ef / IJ 7CJ ,&' (SOLO  PARA USO DE
                                                                                                                   i.. 1�
                                                                                                  Author ize d r;- -       -
                                                                                                                                                   CORTE)


 NOTICE TO DEF EN DANTS : CAYDON SAN D I EGO PROPERTY LLC, a Delawa re Limited
(A V/SO AL DEMANDADO): Li a bility Co m p an y; CAYDON USA H O LDI N G LLC, a T exas                                       ELECTROtHCALL Y FILED
Fo rei g n Limited Lia bilit y Co m pan y and a Delaware Limited Lia bility Co m p a n y; CAYDON USA                           Su periQr Court of Califomia .
PRO P E RTY GRO UP, LLC , a D e l aware Limited Liability Com p a n y; MATTHEW H UTTON , Receiver                                  Count y of San Die g o
and M a n a g er of CAYDON USA PROPERTY G R O U P H OLD I N G S PTY LTD ; A L;EX BEATO N, a n
Indivi d u a l ; a n d DOES 1 throu g h 50, inclusive                                                                          0611 212023 at 1 0 :06 :37 Jltv1
YOU ARE BEING S U E D BY P LAINT I F F S :                                                                                   Clerk of the Su p erior Court
(LO ES TA DEMANDANDO EL DEMANDANTE):                                                                                      By Brandon Krause . De put y Clerk
THE PEOPLE OF TH E STATE OF CALIFORNIA and CITY OF SAN DI EGO, a
m u nicipal corporation
 NOTICE! You have been sued. The court may decide ag ainst you without y our bein g heard unless y ou res p ond within 30 da y s. Read th e informatio n
 below.
    You have 30 CALENDAR DAYS after this summons and le g al p a p ers are served on you to file a written res p onse at this court and have a co py
 se rved on the p laintiff. A letter or p hone call will not p rotect you . Your written res ponse must be in p ro per leg al form if you want the court to hear y our
 case. Th ere ma y be a co urt form that you can use for your resp onse. You can find these court forms and more informati on at the California Courts
 Online Self-Hel p Center (www. courtinfo.ca.gov/selfhelp), your county law libra ry , or the courthouse nearest you. If you can not p ay the filin g fee, ask
 the court clerk for a fee waiver form. If you do not file y our res p onse on time, you may lose the case by default, and your wa g es, mone y , and p ro p erty
 ma y be taken without furthe r warnin g from the court.
    There are other le g al req uirements. You ma y wa nt to call an attorney ri g ht away . If y ou do not know an attorne y , you ma y want to call an attorne y
 referral service. If y ou cannot affo rd an attorney , you ma y be eli g ible for free le g al services from a non p rofit le g al se rvices p ro g ra m. You ca n locate
 these n on p rofit g rou p s at the Califo rnia Le g al Services Web site (www.lawhelpcalifornia. org), the California Courts Online Self-Hel p Center
 (www.courtinfo. ca.gov/se/fhelp), or by contactin g y our local court or count y bar association. NOTE: The court has a statutory lien for waived fees and
 costs on an y settlement or arbitration award of $ 1 0,000 or more in a civil case. The court's lien must be p aid before the court will dismiss the case.
 1AVISOI Lo han demandado. SI no responde dentro de 30 dfas, la carte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
 continuaci6n.
    Tiena 30 DIAS DE CALENDAR/0 despues de que le entreguen esta cltaci6n y pape/es legates para presenter una respues/a por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o un a 1/amada telef6nlca no lo protegen. Su respuesla por escrito tiene que estar
 en formalo legal correcto si desea que procesen su caso en la carte. Es pos/ble que haya un formularlo que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la carte y mas informacl6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca. g ov), en la
 blblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretarlo de la carte
 que le de un formularlo de exenci6n de pago de cuotas. Si no presenta su respuesta a tlempo, puede perder el caso par lncumplimiento y la carte le
 podra quitar su sue/do, dlnero y blenes sin mas advertencla.
    Hay otros requ/sltos legates. Es recomendable que flame a un abogado inmediatamente. SI no conoce a un abogado, puede 1/amar a un servlcio de
 rem/s/6n a abogados. Si no puede pagar a un abogado, es pos/ble que cump/a con /os requis/tos para obtener servlclos legates gratuitos de un
 programa de servlclos /ega/es sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitlo web de California Legal Services,
 (www.lawhelp california.org), en el Centro de Ayuda de fas Cortes de Ca//fornla, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
 co/eg/o de abogados locales. AV/SO: Por fey, la carte tlene derecho a reclamar las cuotas y Jos costos exentos por imponer un gravamen sabre
 cua/quler recuperaci6n de $ 1 0, 000 6 mas de valor reclbida mediante un acuerdo o una conces/6n de arbitraje en un caso de derecho clv/1. Tlene que
 pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
The name and address of the court is:                                                                              CAS E NUMBER:
(El nombre y direcci6n de la cotte es) :                                                                               37-2023-00024446- C LI-MC- CTL
Superior Court of California , County of San Diego
330 W. Broadway, San Diego, Cal ifornia 92 1 0 1



The name , address, and tele p hone number of p laintiff's attorney , or p laintiff without an attorne y , is:
(El nombre, la direcc/6n y el numero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es) :
Mara W. Elliott, City Attorney, David E. M iller, Deputy City Attorney, Office of the City Attorney
1 200 Third Aven ue, Suite 700, San Diego, CA 921 0 1 Telephone: 6 1 9-533-5500 Fax: 6 1 9-533-5505

DATE: 06/1 312023
(Fecha)
                                                                                     Clerk, by
                                                                                     (Secretario)
                                                                                                         /3�    B. Krause
                                                                                                                                                      , Dep uty
                                                                                                                                                  --- (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formularlo Proof of Service of Summons , (POS-0 1 0)).
 lSEALI                           NOTICE TO THE PERSON SERVE D : You are served
          �--...                  1.           D
                                          as an individual defendant.
                                  2.           D
                                          as the p erson sued under the fictitious name of (specify):
                                             � on behalf of                    Caydon U SA Hold i ng L LC , a Texas Forei n L i m ited Liab i l ity
                                        3.   �               (specify):Com p a n y and a Delawa re Lim ited Li a b i l ity C o m pa ny
                                           under:         D
                                                        C C P 41 6. 1 0 (cor p oration )                                  D
                                                                                                      CCP 4 1 6.60 ( minor)
                                                          D
                                                        CCP 4 1 6.20 ( defunct corporation )                              D
                                                                                                      C C P 4 1 6.70 (conservatee)
                                                     �CC P 41 6.4� (assoc�ati�n or p�rtn�r�hi p)                          D
                                                                                                      C C P 41 6.90 (authorized person)
                                                     M other (specify) : L1 m 1ted L 1 ab 1hty C o mpa ny
                                        4.     Dby personal delivery on (date):
                                                                                                                                                                     Pa • 1 of 1
 Form Adopted for Mandatory Use                                                                                                           Code of C ivil Procedure §§ 41 2.20, 465
   Judicial Council of California                                            S U M MONS                         American LegalNet, Inc.
                                                                                                                                                             www. courtlnfo.ca.gov
   SUM-1 00 [Rav. July 1 , 2009]                                                                                www.FormsWorkflow.com




                                                                                                                                                              Exhibit 3
                                                                                                                                                                Page 6
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.23 Page 23 of 71

                                                                                 Delivered_.E - / G:,-lo~
                                                                                                                                                        SUM-100
                                                                                     t'./sC #              1/ c)fr ~
                                                                                                       t. Pem.r
                                         SUMMONS
                                    (CITA CION JUDICIAL)
                                                                                 - r-=       P   horiz; d
                                                                                                                          t;;;RCOURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)


NOTICE TO DEFENDANTS: CAYDON SAN DIEGO PROPERTY LLC, a Delaware Limited
(AV/SO AL DEMANDADO): Liability Company; CAYDON USA HOLDING LLC, a Texas                                          ELECTROHICALLY FILED
Foreign Limited Liability Company ·and a Delaware Limited Liability Company; CAYDON USA                             Superior Court of California,
PROPERTY GROUP, LLC, a Delaware Limited Liability Company; MATTHEW HUTTON, Receiver                                    County of San □ie90
and Manager of CAYDON USA PROPERTY GROUP HOLDINGS PTY LTD; Al,EX BEATON, an
individual; and DOES 1 through 50, inclusive                                                                         0611212023 at 10 :06 :37 Al'v1
YOU ARE BEING SUED BY PLAINTIFFS:                                                                                  Cieri,; of the Superior Court
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                             By Brandon Krause,Deputy Cieri,;
THE PEOPLE OF THE STATE OF CALIFORNIA and CITY OF SAN DIEGO, a
municipal corporation

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courlinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warn ing from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
 1AVISOI Lo han demandado. SI no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
 conlinuaci6n.
    Tlene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta cltacl6n y papeles /egales para presentar una respuesta por escrito en es/a
 carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nlca no lo protegen. Su respuesta par escrito tlene que ester
 en formato legal correc/o sf desea que procesen su caso en la corte. Es pos/ble que haya un formularlo que us/ed pueda usar para su respuesta.
 Puede encontrar estos formularios de la carte y mas informacl6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 blblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presenlaci6n, plda al secretarlo de la corte
 que le de un formu/arlo de exenci6n de pago de cuotas. Si no presenta su respuesta a /lempo, puede perder el caso por lncumpllmiento y la corte le
 podra qul/ar su sue/do, dlnero y blenes sin mas advertencla.
    Hay otros raqu/sitos lega/es. Es recomendable que flame a un abogado inmedlatamente. SI no conoce a un abogado, puede 1/amar a un servlcio de
 remls/6n a abogados. Si no puede pager a un abogado, es pos/ble que cumpla con los requisltos para obtener servlcios legates gratuitos de un
 programa de servlc/os legales sin fines de /ucr6. Puede encontrar estos grupos sin fines de /ucro en el sltlo web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponlendose en contacto con la corte o el
 colegio de abogados locales. AV/SO: Por fey, la corte tlene derecho a rec/amar las cuotas y los costos exentos por lmponer un gravamen sobre
 cua/quler recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tlene que
 paqar el gravamen de la corte antes de que la carte pueda desechar el caso.
The name and address of the court is:                                                                       CASE NUMBER:
{El nombre y dlrecci6n de la carte es):                                                                     37-2023-00024446-C U-MC-CTL
Superior Court of California, County of San Diego
330 W. Broadway, San Diego, California 92101



The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcc/6n y el numero de telefono de/ abogado de/ demandante, ode/ demandante que no tiene abogado, es):
Mara W. Elliott, City Attorney, David E. Miller, Deputy City Attorney, Office of the City Attorney
1200 Third Avenue, Suite 700, San Diego, CA 92101 Telephone: 619-533-5500 Fax: 619-533-5505

DATE:
(Fecha)
             06/1312023                                                      Clerk, by
                                                                              (Secretario)
                                                                                                 /3~    B. Krause                         - - - (Adjunto)
                                                                                                                                                         , Deputy

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formularlo Proof of Service of Summons, (POS-010)).
 lSEALJ      ----..                  NOTICE TO THE PERSON SERVED: You are served
                                      1.   D as an individual defendant.
                                     2.    D as the person sued under the fictitious name of (specify):
                                           ~                        Caydon USA Property Group, LLC, Delaware Limited Liabil
                                     3. ~ on behalf of (specify): Company
                                         under:   D CCP 416.10 (corporation)                       D CCP 416.60 (minor)
                                                  D CCP 416.20 (defunct corporation)               D CCP 416.70 (conservatee)
                                                  ~CCP 416.40 (association or partnership)         D CCP 416.90 (authorized person)
                                                  lYJ other (specify): Limited Liability Company
                                     4 , D by personal delivery on {date):
                                                                                                                                                            Pa e 1 or 1
 Form Adopted for Mandatory Use                                                                                                   Code of Civil Procedure§§ 412.20, 465
   Judicial Council of California                                     SUMMONS                           American LegalNet, Inc.
                                                                                                                                                    www. counlnfo.ca.gov
   SUM-100 (Rev. July 1, 2009I                                                                          www.FormsWorkflow.com




                                                                                                                                                       Exhibit 3
                                                                                                                                                         Page 7
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.24 Page 24 of 71



                                                                                                                                                       SUM-1 00
                                           SUMMONS                                                                        FOR COURT USE ONl. Y
                                                                                                                      {SOLO PARA USO DELA CORTE)
                                    (CITA C/ON JUDICIAL)
  NOTICE TO DEFENDANTS: CAVDON SAN DIEGO PROPERTY LLC, a Delaware limited
 (A VISO AL DEMANDADO):                liability Company; CAVDON USA HOLDING LLC, a Texas                         ELECTRotHCALLV FILED
 Foreign limited liability Company and a Delaware limited llablllty Company; CAVDON USA                            Superior Court of California ,
 PROPERTY GROUP, LLC, a Delaware limited Liability Company; MATTHEW HUTTON, Receiver                                  County of San Diego
 and Manager of CAYDON USA PROPERTY GROUP HOLDINGS PTY LTD; A\EX BEATON, an
 Individual; and DOES 1 through SD, Inclusive                                                                                                  □
                                                                                                                    0611 212023 at 1D : 6 :37 AM
 YOU ARE BEING SUED BY PLAINTIFFS:                                                                                 Dien, of the Superior Court
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            By Brandon Krause , Deputy Clerk
 THE PEOPLE OF THE STATE OF CALIFORNIA and CITY OF SAN DIEGO, a
 municipal corporation

  NOTICE! You have been sued, The court may decide against you without your being heard unless you respond wllhln 30 days, Read the Information
   below,
      You have 3D CALENDAR DAYS after this summons and legal papers are served on you to Ille a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your wrltlen response must be In proper legal form If you want the court to hear your
   case, There may be a court form that you can use for your response. You can find these court forms and more lnfomiatlon at the Callfornla Courts
   Online Self-Help Center (www.courtlnfo.ca.gov/se/fhe/p), your county law library, or the courlhouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not flle your response on time, you may lose the case by default, and your wages, money, and property
   may ba taken without further warning from the ccurt.
      There are other legal requirements, You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referr�I service. ff you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at Iha California Legal Services Web site (www.lawhe/poel/fornta.org), the California Courts Online Self-Help Center
   (www.courtlnfo.oa.gov/se//halp), or by contacting your local court or county bar association. NOTE: The courl has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $1 0,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
  JAVISOI Lo han demandado. SI no responde dentro de 30 d/as, la oorte puede deo/dlr en su contra sin esouohar su vars/6n. Lea ta lnformaot6n a
   ccntlnuao/6n,
      Tiena 30 DIAS DE CALENDAR/0 despuas de que le enlreguen esta o/lac/6n y pape/es legates para presenter una respues/a por esorlto en es/a
   carte y hacer que se entregue una cop/a al demandante. Una carta o una 1/amada te/ef6nlca no lo profegen. Su respuesfa por escrlto tlane que estar
   en formafo legal correcto sl desea qua procasan su caso en la carte. Es pos/ble qua haya un formular/o que usted pueda usar para su respuesta.
   Puede encohfrar estos formularlos de la carte y mtts lnformacl6n en el Centro de Ayuda de las Cortes de Oalffornfa (www.sucorte.ca.gov), en la
   blblloteaa de !eyes de su condado o en la carte que le quede mas aeraa. SI no puede pagar la auota de presentacl6n, plda al secretarla de la carte
   qua le d9 un formularlo de exencl6n de pago de cuotas. SI no presenta su respuesta e tlempo, puede perder el caso por tncumpllmlento y la carte le
  podra qu/tar su sue/do, d!nero y blenes sin mas advertenata.
      Hay otros re.qulsltos /egales. Es reaomandable que flame a un abogado lnmedlatamenfe. SI no aanoce a un abogado, puede llamar a un setvlalo de
  remfs/6n a abogados. SJ no puede pagar a un a�ogado1 es posfble que aumpla con las requlsltos para obtener satvlclos /egales gratultos de un
  prograrr,a de servlolos lega/es sin fines de Juoro. Puede enoontrar estos grupos sin fines de Jucro en el sltlo web de California Legal Services,
   (lvww.lawhelpcallfornla.orgJ, en el Centro de Ayuda de las Cortes de Ca/lfomla, (lvww,sucorte.ca.govJ o pon/ondose en ccntacto con la corte o el
   co/eglo de abogados locales. AV/SO: Por fey, la aorle Ilene dereoho a reclamar las cuotas y Jos costos exentas por lmponer un gravamen sabre
   cua!quler recuperac/0n de $10,000 6 mas de valor rec/b/da med/ante un acuerdo o una concesl6n de arbltraje en un caso de derecha clv/1, Tlene que
   naaar el aravamen de la aorta antes de aue la carte vueda desechar el caso.
 The name and address of the court Is:                                                                       GASE NUMBER,
 (El nombre y d/recc/6n de la corle es):                                                                     37-2023-00024446- C U-MC- CTL
 SL1perlor Court of California, County of San Diego
 330 W. Broadway, San Diego, California 921 01



 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
 (El nombre, la direcc/6n y el numero de telefono def abogado def demandanle, o de/ demandante que no Ilene abogado, es):
 Mara W. Elliott, City Attorney, David E. MIiier, Deputy City Attorney, Office of the City Attorney
 1 200 Third Avenue, Suite 700, San Diego, CA 921 01 Telephone: 61 9-533-5500 Fax: 61 9-533-5605

 DATE:
 (Fecha)
              06/1 312023                                                      Clerk, by
                                                                               (Seoretar/o)
                                                                                                  g�    8. Krause
                                                                                                                                         ___ , Deputy
                                                                                                                                                        (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta cital/6n use el formularlo Proof of Service of Summons, (POS-010)).
  ISEALI                          NOTICE TO THE PERSON SERVED: You are served
               .-,-.,_
                                      1.     0 as an Individual defendant.
                                      2.   0 as the person sued under the fictitious name of (specify):
                                      3.   0 on behalf of (specify):
                                         under:   0 CCP 41 6. 1 0 (corporation)                   D CCP 41 6.60 (minor)
                                                  D CCP 416.20 (defunct corporation)               0 CCP 41 6.70 (conservatee)
                                                  D CCP 41 6.40 (association or partnership) 0 CCP 41 6.90 (authorized person)
                                                   D other (specify):
                                      4.    D by personal delivery on (dale):
                                                                                                                                                           Pa e 1 of1
                                                                                                                                  Code of GM! Procedure §§ 412.20, 465
  Form Adoplad for Mandatory Use
    Judlchd Counoll of Callfornla
                                                                        SUMMONS                         Amerloan LagalNet, lno,                    www.courtlnfo.aa.gov
                                                                                                        www.FonnsWorldJow.com
    SUM-100 (Rev. July 1, 2009]




                                                                                                                                                          Exhibit 3
                                                                                                                                                            Page 8
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.25 Page 25 of 71




         EXHIBIT 4
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.26 Page 26 of 71



                                                                              ELECTRONIC.ALL V FILED
                                                                               Swi:ierio.r Co.wrt o.f California.
                                                                                    C!Jwnty Qf San Dieg!J
      1 MARA W. ELLIOTT, City Attorney                                         0611212023 at 1 D :□ 6 :37 PM
        PAIGE E. FOLKMAN, Assistant City Attorney                               Clerk Qf the SwFJeri!Jr CGiwrt
      2 DAVID E. MILLER, Deputy City Attorney                                By Brand!Jn Krawse, □ ei:iwty Clerk
        California State Bar No. 174469
      3        Office of the City Attorney
               Community Justice Division/Nuisance Abatement Unit
      4        1200 Third Avenue, Suite 700
               San Diego, California 92101-4103
      5        Telephone: (619) 533-5500
               Fax: (619) 533-5505
      6        MillerDE@sandiego.gov
      7   Attorneys for Plaintiffs                                                              No Fee GC § 6103

      8                                 SUPERIOR COURT OF CALIFORNIA
      9                                     COUNTY OF SAN DIEGO
     10 THE PEOPLE OF THE STATE OF                          Case No. 37-2023-00024446-CU-MC-CTL
        CALIFORNIA and CITY OF SAN DIEGO,
     11 a municipal corporation,                            UNLIMITED JURISDICTION
     12                   Plaintiffs,                       COMPLAINT FOR INJUNCTION, CIVIL
                                                            PENALTIES AND OTHER EQUITABLE
     13          V.                                         RELIEF
     14 CAYDON SAN DIEGO PROPERTY LLC, a
        Delaware Limited Liability Company;                 (1) MAINTENANCE OF A PUBLIC
     15 CAYDON USA HOLDING LLC, a Texas                         NUISANCE (CALIFORNIA CIVIL
        Foreign Limited Liability Company and a                 CODE SECTIONS 3479 AND 3480);
     16 Delaware Limited Liability Company;                     AND
        CAYDON USA PROPERTY GROUP, LLC, a
     17 Delaware Limited Liability Company;                 (2) VIOLATIONS OF THE SAN DIEGO
        MATTHEW HUTTON, Receiver and Manager                    MUNICIPAL CODE
     18 of CAYDON USA PROPERTY GROUP
        HOLDINGS PTY LTD;
     19 ALEX BEATON, an individual; and
        DOES 1 through 50, inclusive,
     20
                      Defendants.
     21
     22          Plaintiffs the People of the State of California and City of San Diego, a municipal

     23   corporation, appearing by and through their attorneys, Mara W. Elliott, City Attorney, and David

     24   E. Miller, Deputy City Attorney, allege the following based upon information and belief:

     25                                   JURISDICTION AND VENUE

     26           1. Plaintiffs the People of the State of California and City of San Diego, a municipal

     27 corporation (Plaintiffs), by this action and pursuant to California Code of Civil Procedure sections
     28 526 and 731 and San Diego Municipal Code (Municipal Code or SDMC) sections 12.0202 and
                                                        1
                      COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                         Exhibit 4
                                                                                                           Page 9
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.27 Page 27 of 71




      1 121.0311, seek a preliminary injunction and permanent injunction prohibiting Defendants from
      2   using or maintaining a property in violation of state and local ordinance provisions and as a
      3   public nuisance, which is a threat to the health, safety, and welfare of the public. Plaintiffs also
      4 seek to obtain civil penalties, costs, and other equitable relief for Defendants' violations of the
      5 law.
      6           2. The omission or commission of acts and violations of law by Defendants as alleged in
      7 this Complaint occurred within the City of San Diego, in the State of California. Defendants at all
      8   times mentioned in this Complaint have transacted business within the City of San Diego or are
      9   residents of San Diego County, within the State of California, or both.
     10           3. The property where the acts and practices described in this Complaint were performed
     11 is in the City of San Diego.
     12                                             THE PARTIES
     13           4. Plaintiff the People of the State of California brings this action by and through Mara
     14 W. Elliott, City Attorney for the City of San Diego.
     15           5. Plaintiff City of San Diego is a municipal corporation and a charter city, organized and
     16 existing under the laws of the State of California.
     17           6. Defendant CAYDON SAN DIEGO PROPERTY LLC (CAYDON SD), a Delaware
     18 Limited Liability Company, at all times relevant to this action, was and is the owner of record of
     19   the real property located at 1102-1122 Fourth Avenue, 1101-1121 Third Avenue, and 310-344 C
     20 Street, San Diego, California 92101 (Property), where state and local law violations and a public
     21 nuisance exist.
     22           7. Defendant CAYDON USA HOLDING LLC (CAYDON HOLDING), a Texas
     23 Foreign Limited Liability Company and a Delaware Limited Liability Company, is the sole
     24   Member of CAYDON SD, the owner of record of the Property.
     25           8. Defendant CAYDON USA PROPERTY GROUP LLC (CAYDON USA), a Delaware
     26 Limited Liability Company, is the sole Member of CAYDON HOLDING.
     27
     28

                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 10
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.28 Page 28 of 71




      1           9. Defendant MATTHEW HUTTON (HUTTON) is the Receiver and Manager of
      2   CAYDON USA PROPERTY GROUP HOLDINGS PTY LTD, the sole Member of CAYDON
      3   USA.
      4          10. Defendant ALEX BEATON (BEATON), an individual, at all times relevant to this
      5   action, was and is a resident of the City of San Diego, California and the San Diego based
      6 manager of the Property that is the subject of this dispute.
      7          11. Defendants DOES 1 through 50, inclusive, are sued as fictitious names, under the
      8   provisions of California Code of Civil Procedure section 474, their true names and capacities are
      9 unknown to Plaintiffs. Plaintiffs are informed and believe that each Defendant, DOES 1 through
     10   50, is either responsible, in whole or in part, for the violations and conduct alleged, or has, or
     11   claims to have, an interest in the Property, the exact nature of which is unknown. When the true
     12   names and capacities are ascertained, Plaintiffs will seek leave of court to amend this Complaint
     13   and to insert in lieu of such fictitious names the true names and capacities of the fictitiously
     14   named Defendants.
     15          12. At all relevant times to this action, all Defendants and DOES 1 through 50, and each
     16   of them, were and are agents, principals, servants, lessors, lessees, employees, partners, associates
     17   or joint venturers of each other and at all times were acting within the course, purpose and scope
     18   of said relationship and with the authorization or consent of each of their co-defendants.
     19                                              PROPERTY
     20          13. The property where the violations of state and local ordinances are being maintained
     21 and the nuisance is occurring is 1102-1122 Fourth Avenue, 1101-1121 Third Avenue, and 310-
     22 344 C Street, San Diego, California 92101, also identified as Assessor's Parcel Numbers 533-
     23   521-04-00, 533-521-05-00, and 533-521-08-00 according to Document No. 2019-0608307
     24   recorded in the San Diego County Recorder's Office on December 27, 2019 (Grant Deed).
     25          14. The legal description of the Property is:
     26                  All that certain real property situated in the County of San Diego,
                         State of California, described as follows:
     27
                         Parcel 1:
     28                  Lots E and F in Block 16 of Horton's Addition, in the City of

                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 11
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.29 Page 29 of 71




      1                  San Diego, County of San Diego, State of California, according to
                         Map thereof filed in the Office of the County Recorder of
      2                  San Diego County.
      3                  Parcel 2:
                         Lots G and H in Block 16 of Horton's Addition, in the City of
      4                  San Diego, County of San Diego, State of California, according to
                         Map thereof filed in the Office of the County Recorder of
      5                  San Diego County.
      6
                         Parcel 3:
      7                  Lot I in Block 16 of Horton's Addition, in the City of San Diego,
                         County of San Diego, State of California, according to Map thereof
      8                  by L.L. Locl<ling, filed in the Office of the County Recorder of
                         San Diego County.
      9
                         Assessor's Parcel Number: 533-521-04, -05, and -08.
     10
     11           15. Per the Grant Deed, the Property was acquired by CAYDON SD on or about
     12   December 13, 2019.
     13           16. The Property is located within the Centre City Planned District zone in the downtown
     14   area of the City of San Diego.
     15           17. The Property was originally developed in 1926 with an assembly use building, now
     16   known as the California Theater, and an eight-story mixed use building. The three buildings at the
     17   Property have stood vacant for decades.
     18                                      FACTUAL ALLEGATIONS

     19           18. For approximately three years, Defendants have maintained the Property in violation
     20   of the Municipal Code and as a public nuisance that poses an imminent threat to the health,
     21   safety, and welfare of the occupants, first responders, and the general public. It is a refuge for
     22   transients, a haven for teen skaters, and a blight on the neighborhood negatively affecting local
     23   businesses. The abandoned buildings at the Property are structurally unsound; filled with
     24   hazardous materials, such as asbestos, lead, and biological waste; and have cracked, unstable
     25   exterior ornamentation that falls to the sidewalk endangering pedestrians below.
     26          19. On or about November 9, 2016, Masek Consulting Services, Inc. prepared an
     27   Asbestos, Lead, and Miscellaneous Toxic Materials Survey Report (Toxic Material Report)
     28 addressing the hazardous materials at the Property for the previous owner of the Property.

                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 12
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.30 Page 30 of 71




      1           20. The Toxic Material Report identified significant quantities of asbestos, lead, and other
      2   toxic materials existing at the Property:
      3                  • Approximately 4,500 square feet of pipe and tank insulation in horrible condition
      4   ("significantly damaged" using the AHERA categories of good, damaged, and significantly
      5   damaged);
      6                  • Significantly damaged friable theater curtain of roughly 1,500 square feet;
      7                  • Lead-based paint (XRF readings greater than or equal to 1.0 mg/cm2), lead-glazed
      8 ceramic tile, and paint which the City of San Diego requires be handled using lead-safe work
      9   practices (XRF readings greater than or equal to 0.5 mg/cm2); and
     10                 • About 340 mercury-containing fluorescent light tubes, 170 ballasts which likely
     11 contain PCBs, 12 thermostats with mercury switches, seven transformers and seven oil-filled

     12 switches, a compressed gas canister/tank, and a radioactive exit sign.
     13           21. On or about October 25, 2018, A.B. Court & Associates Prepared a Structural
     14   Condition Assessment Report (Structural Report) for Defendants. The Structural Report included
     15   findings:
     16                 • Severely deteriorated structural systems, including severely weakened and
     17   corroded roof trusses supporting the auditorium roof, present a significant near-term and long-
     18   term safety risk and require prompt shoring and repair or demolition to avert potential collapse;
     19                 • Exterior cast stone ornamentation with widespread cracking and delamination is a
     20   falling hazard;
     21                 • The connected buildings are poorly tied together and likely to suffer heavy damage
     22 and partial collapse where they abut and interconnect; and
     23                 • Potential failure of even one heavily corroded tension strut could result in a zipper
     24   effect with adjacent members failing until a more global failure of the roof structure occurs. Such
     25   a failure would likely have disastrous consequences in terms of loss of the heavy concrete roof
     26 structure, potential loss or heavy damage to the balcony, severe damage to columns, loss of
     27   hollow clay tile infill from the walls, loss of the concrete parapets, and severe risk to pedestrians
     28

                      COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 13
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.31 Page 31 of 71




      1   and others near to the building due to falling hazards. The roof trusses should be considered an
      2   immediate and urgent safety priority.
      3          22. On a date unknown to Plaintiffs, but prior to December 13, 2019, Defendants received
      4 a copy of the Toxic Material Report.
      5          23. On or about December 13, 2019, after commissioning the Structural Report and
      6 receiving the Toxic Material Report, Defendants purchased the Property with full knowledge of
      7 the structural deficiencies and hazardous materials at the Property.
      8          24. Since the date Defendants purchased the Property, the San Diego Police Department
      9   (SDPD) has received 68 calls for service to the Property to investigate criminal offenses including
     10   battery, assault with a deadly weapon, theft, exhibiting a deadly weapon, and malicious mischief.
     11   These calls resulted in 440 out of service hours for law enforcement.
     12          25. On or about July 8, 2020, the City of San Diego's Code Enforcement Division (CED)
     13   received a citizen complaint stating that the Property was vacant, abandoned, and a public
     14 nuisance, littered with a significant amatmt of trash and debris. The complaint also stated that the
     15   fence was falling over.
     16          26. On or about July 9, 2020, CED Senior Combination Inspector Bryan Monaghan (SCI
     17   Monaghan) inspected the Property and observed several violations of the Municipal Code,
     18 including broken and dilapidated fencing (SDMC § 142.0380); barbed wire on fencing
     19   (SDMC § 142.0360); unsecured and broken windows and doorways as well as holes in the north
     20 wall of the vacant structures (SDMC § 54.0306); trash, litter, and debris around the Property
     21   (SDMC § 54.0208); and a vacant lot at the Property being used as a paid parking lot without
     22 required permits (SDMC § 156.0308). SCI Monaghan called Defendants' representative, Khaled
     23 Noun (Noun), to inform him of the Municipal Code violations existing at the Property and
     24 advised that Defendants must fix all Municipal Code violations.
     25          27. Noun assured SCI Monaghan that Defendants would begin fixing the violations
     26 immediately. SCI Monaghan requested that Nouri contact him when he was ready to schedule a
     27 compliance inspection.
     28

                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                    Exhibit 4
                                                                                                     Page 14
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.32 Page 32 of 71




      1           28. On or about July 16, 2020, SCI Monaghan and CED Zoning Investigator Jose Bautista
      2   (ZI Bautista) inspected the exterior of the Property. They observed rubbish and debris, holes and
      3   transient entry points in the fence and exterior walls, a large hole in the north wall exposing an
      4 elevator shaft, graffiti covering the building and windows, barbed wire on the fencing, and
      5 Oriented Strand Board (OSB) covering certain portions of the building.
      6           29. SCI Monaghan emailed Noun and two other of Defendants' representatives, Blake
      7 Schoenberg (Schoenberg) and BEATON. SCI Monaghan informed them of the
      8 Municipal Code violations observed at the Property and explained that the dangerous violations
      9   must be remediated immediately. SCI Monaghan provided a copy of the City's regulations for
     10 how to board and secure a vacant property, explained that OSB may not be used to board a vacant
     11   structure, and warned that the exposed elevator shaft was an immediate public safety hazard.
     12           30. On or about July 20, 2020, ZI Bautista emailed Schoenberg, Noun, and BEATON
     13 requesting an update on the remediation effort. ZI Bautista also reiterated that the vacant lot
     14   cannot be used as a paid parking lot without a permit and that all entry points must be secured.
     15           31. On or about July 23, 2020, Schoenberg emailed ZI Bautista stating that Defendants
     16 had temporarily secured the elevator shaft. Schoenberg stated he would later permanently secure
     17 it according to City regulations; however, he never did.
     18           32. On or about July 24, 2020, SDPD Officer Drake Lasley (Officer Lasley) emailed
     19 Schoenberg, Noun, and BEATON, requesting that Defendants post "No Trespassing" signs on the
     20   fence and all entrances to preclude unauthorized entry and inquired about the condition of the
     21 building.
     22           33. On or about July 30, 2020, Schoenberg emailed Officer Lasley stating that there is
     23   asbestos in the building, but that there is no reason to believe it is airborne. The only structural
     24 concerns Schoenberg mentioned were that wood areas might be unsound. Schoenberg did not
     25 mention the concerns identified in the findings of the Structural Report or the Toxic Material
     26 Report.
     27
    28

                    COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                        Exhibit 4
                                                                                                         Page 15
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.33 Page 33 of 71




      1          34. On or about August 6, 2020, Officer Lasley emailed Schoenberg and BEATON to
      2   explain that SDPD officers could not enter the Property because of the extreme dangers presented
      3   by the structural deficiencies and hazardous materials within the buildings.
      4          35. On or about August 6, 2020, ZI Bautista inspected the Property from the public right-
      5   of-way (PROW) and observed no change in the conditions at the Property. The Municipal Code
      6   violations remained. Additionally, the opening to the elevator shaft that Schoenberg had stated
      7 was temporarily secured was not secured.
      8          36. On or about August 19, 2020, ZI Bautista issued a Notice of Abatement, posted it at
      9   the Property and mailed a copy to Defendants. The Notice of Abatement listed all Municipal
     10   Code violations observed at the Property; identified remediation measures required, including
     11 boarding and securing the buildings as required by the Municipal Code, removing barbed wire
     12 fencing, and disposing of all trash and debris; and explained that "[t]he structure(s) pose(s) a
     13   serious threat to the public's health and safety and are hereby declared to be a public nuisance in
     14   accordance with San Diego Municipal Code (SDMC) Section 54.0301 and California Health and
     15   Safety Code Section 17920.3." A compliance deadline was set for September 2, 2020.
     16          37. The violations listed in the Notice of Abatement include: broken and dilapidated
     17 fencing (SDMC § 142.0380); barbed wire on fencing (SDMC § 142.0360); unsecured and broken
     18   windows and doorways as well as holes in the north wall of the vacant structures (SDMC §
     19   54.0306); trash, litter, and debris around the Property (SDMC § 54.0208); vacant lot at the
     20   Property being used as a paid parking lot without required permits (SDMC § 156.0308); and
     21   failure to comply with the Land Development Code (SDMC § 121.0302).
     22          38. On or about August 20, 2020, ZI Bautista emailed Schoenberg, Noun, and BEATON
     23   explaining that he posted the Notice of Abatement at the Property and informing them that a
     24   compliance inspection would occur on or after the compliance deadline stated in the Notice of
     25 Abatement.
     26          39. On or about August 25, 2020, ZI Bautista emailed Schoenberg, Noun, and BEATON
     27   to infonn Defendants that the City had been receiving reports of an increase in graffiti at the
     28   Property. ZI Bautista asked that the graffiti be removed as soon as possible.

                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 16
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.34 Page 34 of 71




      1           40. On or about September 2, 2020, ZI Bautista emailed Schoenberg, Noun, and
      2   BEATON to remind them that the compliance deadline in the Notice of Abatement was the next
      3   day.
      4           41. On or about September 8, 2020, ZI Bautista inspected the Property and observed that
      5 all Municipal Code violations remained uncorrected. Defendants had not complied with the
      6 Notice of Abatement. ZI Bautista emailed Schoenberg, Noun, and BEATON to advise them of
      7 the results of his inspection. Noun called ZI Bautista and said he would have the barbed wire and
      8   graffiti removed.
      9           42. On or about September 10, 2020, ZI Bautista emailed Noun and Schoenberg and
     10 requested an update on the status of the remediation, including removing the barbed wire, graffiti,
     11 trash, broken fencing, and securing the buildings.
     12           43. On or about December 7, 2020, CED Senior Zoning Investigator Ollie Shepherd
     13   conducted an inspection of the Property and observed that all Municipal Code violations were
     14   still present.
     15           44. On or about January 1, 2022, a video was posted on YouTube
     16   (https://www.youtube.com/watch?app=desktop&v=HBi85eeUdkI) showing two youths entering
     17 the unsecured dangerous Property on the evening of December 31, 2021, and exploring the
     18 interior of the buildings, exposing themselves to the hazardous materials.
     19           45. On or about April 20, 2022, CED Combination Inspector Val Sanchez (CI Sanchez)
     20 met with Deputy Fire Marshal Robert Marshall (DFM Marshall) and Fire Marshal Anthony Tosca
     21 (FM Tosca). DFM Marshall informed CI Sanchez that the Property was currently the highest
     22   priority for the San Diego Fire-Rescue Department (SDFD) because there were serious concerns
     23   about the risk of fires inside the Property due to the transient presence and the dangerous interior
     24   conditions.
     25           46. On or about April 27, 2022, CI Sanchez inspected the Property from the PROW and
     26 observed multiple Municipal Code violations at the Property: The Municipal Code violations
     27 mirrored those observed by SCI Monaghan almost two years earlier.
     28

                    COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 17
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.35 Page 35 of 71




      1          47. On or about May 3, 2022, ZI Bautista emailed BEATON, Schoenberg, and Noun and
      2 infonned them that the building remained unsecure, and the City continued to receive complaints
      3   of homeless and transient individuals entering and residing in the buildings. ZI Bautista also
      4 requested a Property inspection be scheduled as soon as possible.
      5          48. On or about May 3, 2022, Emma Alexander (Alexander), the prior Vice President and
      6 Chief Operating Officer of Defendant CAYDON USA, sent two emails to ZI Bautista, CI
      7 Sanchez, and Schoenberg. Alexander wrote that the City staff will need "full [Personal Protective
      8 Equipment] to go inside the buildings ... it's not safe in a lot of areas." Alexander further wrote,
      9   "The entirety of the building inside has asbestos and lead which is why full hazmat [protection] is
     10   required. The stage and a number of areas including and anything above the first floor cannot be
     11 accessed as it's unsafe .... Caydon's intention is to demolish the whole building .... It is
     12 structurally unsound and certainly not habitable."
     13          49. On or about May 3, 2022, and again on May 5, 2022, CI Sanchez requested copies of
     14   asbestos and lead reports from Alexander.
     15          50. On or about May 9, 2022, CI Sanchez and SCI Monaghan conducted another
     16 inspection of the Property. They confirmed that the buildings were not properly boarded and
     17 secured and that transients were occupying the buildings. All other Municipal Code violations
     18 remained uncorrected.
     19          51. On or about May 11, 2022, ZI Bautista emailed an Inspection Official Notice to
     20   Alexander notifying her that an inspection of the Property would be conducted on May 25, 2022.
     21          52. On or about May 12, 2022, CI Sanchez emailed Alexander and relayed the results of
     22 his May 9, 2022, inspection and requested that Defendants' management team or contractors
     23   attend the May 25, 2022, inspection. CI Sanchez also requested that the buildings be cleared of
     24   the occupants prior to boarding and securing them.
     25          53. On or about May 18, 2022, CI Sanchez emailed Alexander and Schoenberg indicating
     26 that he would like to discuss Defendants' plan to clear and resecure the Property with Defendants'
     27 contractors at the May 25, 2022 inspection. CI Sanchez also reiterated his request for a copy of
     28 the asbestos and lead reports.
                                                    10
                  COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                    Exhibit 4
                                                                                                     Page 18
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.36 Page 36 of 71




     1               54. On or about May 19, 2022, in response to a question from Alexander asking why the
     2   SDPD can't clear the building, CI Sanchez informed Alexander that it is the owner's
     3   responsibility to clear the building prior to resecuring it. CI Sanchez further wrote that Alexander
     4   should coordinate' with the SDPD so they can have community resources on site on the clearing
     5   date to meet and offer services to the transients.
     6               55. On or about May 23, 2022, Schoenberg emailed a link to the 2016 Toxic Material
     7 Report to CI Sanchez.
     8               56. On or about May 25, 2022, Schoenberg met CI Sanchez, ZI Bautista, FM Tosca, DFM
    9 Marshall, and Deputy Fire Marshal Michael Sugich (DFM Sugich) at the Property. City staff
   10    observed numerous dangerous Municipal Code and California Fire Code violations at the
    11   Property. City staff explained the Municipal Code and California Fire Code violations to
    12   Schoenberg. While at the Property, CI Sanchez observed several individuals going in and out of
   13    one of the buildings through a breached opening in the northwest side of the building. CI Sanchez
    14   spoke to one of the individuals leaving the building. That individual told CI Sanchez that
    15   approximately 20-30 people were living in the 8-story building and another five or six lived on
   16    the west side of the Property. The individual further stated that fires were being started inside the
    17   buildings by the occupants to keep them warm. The individual also informed CI Sanchez that he
   18    had observed groups of teenagers enter the building and access the upper floors to spray paint
    19   graffiti.
   20                57. On or about May 25, 2022, Schoenberg emailed a copy of the 2018 Structural Report
   21    to ZI Bautista, CI Sanchez, and other City staff. Later the same day, CI Sanchez informed
   22    Alexander, Schoenberg, and BEATON that on multiple occasions, including that morning, City
   23    staff confirmed that transients were living at the Property and that due to Defendants' failure to
   24    comply with the Notice of Abatement, CED was referring the case to the City Attorney's office
   25    for enforcement.
   26                58. On or about May 26, 2022, based on the nature and extent of the conditions and
   27 violations observed at the Property and those identified in the Structural Report and Toxic
   28    Material Report, FM Tosca determined that the Property was unsafe as the hazardous conditions
                                                       11
                  COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                          Exhibit 4
                                                                                                           Page 19
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.37 Page 37 of 71




      1 present imminent danger to the building occupants and the general public. DFM Marshall and FM
      2   Tosca, pursuant to California Fire Code section [A]l 11.2, "red tagged" the building with warning
      3   signs stating, "DO NOT USE BY ORDER OF THE FIRE MARSHAL. .. UNSAFE BUILDING."
      4          59. Later that day, DFM Sugich emailed an SDFD Inspection Report from the May 25,
      5   2022, inspection to Alexander, BEATON, and Schoenberg indicating that all California Fire Code
      6 violations previously observed at the Property remained uncorrected. The Inspection Report
      7 included a requirement that Defendants implement a 24/7 fire watch (Fire Watch) for the
      8   building. Fire Watch requires regular patrol of the Property conducted by personnel stationed
      9   onsite and trained to detect and immediately report smoke and early signs of fire at the Property
     10   to the fire department.
     11          60. On or about June 1, 2022, CI Sanchez again informed Alexander and Schoenberg that
     12 the case was being referred to the City Attorney's Nuisance Abatement Unit for further
     13   enforcement action because of Defendants' failure to address the serious life safety and fire
     14   danger the buildings pose to the occupants, to fire crews and to the neighboring properties. CI
     15 Sanchez demanded that Defendants immediately comply with the Fire Marshal's safety
     16 requirements, clear the buildings, resecure all the openings, repair the perimeter fencing, and
     17   maintain the building in a safe and secure manner.
     18          61. Later that day, Alexander responded to CI Sanchez, asking, "[C]an't the Fire brigade
     19   clear the building (via smoke/lights/noise etc) ... ?"
     20          62. On or about June 3, 2022, FM Tosca responded to Alexander's email that the SDFD
     21 cannot clear the building: Clearing is the Property owner's responsibility.
     22          63. On or about June 6, 2022, CI Sanchez, DFM Sugich, FM Tosca, and DFM Marshall
     23 met with Alexander and BEATON and explained that the buildings must be cleared of all
     24 occupants, hazardous materials must be removed, the building must be properly secured, and all
     25 structural issues must be fixed or the buildings must be demolished. FM Tosca explained that
     26   SDFD had serious concerns regarding catastrophic fire and the hazardous materials. FM Tosca
     27 also relayed concerns from the SDPD of ongoing nuisance activity, including broken windows,
     28
                                                     12
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                    Exhibit 4
                                                                                                     Page 20
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.38 Page 38 of 71




      1   falling materials, and constant calls for service at the Property. CI Sanchez again told Defendants'
      2 representatives that the case had been referred to the Office of the City Attorney.
      3          64. On or about June 13, 2022, CI Sanchez met with Alexander and BEATON. CI
      4 Sanchez reiterated the concerns and requirements conveyed during the June 6, 2022, meeting.
      5   Alexander asked why SDPD could not just clear the buildings. She was again told that it is the
      6   owner's responsibility to clear, board, and secure the buildings. BEATON claimed that a
      7 contractor was hired, and the buildings would be cleared on June 16, 2022.
      8          65. On or about June 14, 2022, Schoenberg emailed Alexander, BEATON, CI Sanchez,
      9   DFM Marshall, DFM Sugich, and FM Tosca that the building clearing and resecuring would
     10   occur on June 16, 2022, at 9:00 a.m.
     11          66. On or about June 16, 2022, CED Zoning Investigator Raunja Robinson (ZI Robinson)
     12 went to the Property to observe the clearing and securing of the buildings. He did not observe any
     13   contractors or activity at the Property. ZI Robinson later learned that the clearing and securing
     14   had been cancelled.
     15          67. On or about June 29, 2022, CI Sanchez and City of San Diego Development Services
     16   Department (DSD) Senior Structural Engineer Miguel Sinclair (SSE Sinclair) went to the
     17   Property to conduct a structural assessment. Due to interior conditions, SSE Sinclair could only
     18 perform a limited exterior inspection of the buildings at the Property. SSE Sinclair observed
     19 conditions consistent with those identified in the 2018 Structural Report. While present at the
     20 Property, CI Sanchez observed SDPD offiqers onsite. The SDPD officers were removing
     21 individuals entering the buildings through a breached opening on C Street.
     22          68. On or about July 1, 2022, Alexander emailed DFM Sugich asking if the City would
     23   pay for the 24/7 Fire Watch. DFM Sugich responded that having a Fire Watch is the
     24 responsibility of the property owner and that failure to put the Fire Watch in place by July
     25   12, 2022, would result in a $300 daily fine.
     26          69. On or about July S, 2022, SDPD Officer Marlon Estepa (Officer Estepa) received a
     27 report of newly damaged windows at the Property and a possible gunshot coming from inside the
     28 buildings and complaints about transients entering the dangerous buildings at the Property.
                                                     13
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 21
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.39 Page 39 of 71




      1            70. On or about July 8, 2022, ZI Robinson inspected the Property and observed occupants
      2 breaking the windows of the 8-story building at the Property and glass falling to the sidewalk
      3   below.
      4            71. On or about July 11, 2022, NBC affiliate San Diego 7 ran a news segment entitled
      5   "San Diego's Seedy California Theatre Driving Businesses Out of Downtown." In the news
      6   segment, local business owners complain about how the condition of the Property has negatively
      7 affected their businesses. The business owners' complaints include an increase in robberies,
      8   employees quitting because they don't feel safe at night, and having to close their businesses
      9   early due to safety concerns.
     10            72. On or about July 12, 2022, DFM Sugich conducted a follow-up inspection and
     11   observed that all California Fire Code violations remained uncorrected. DFM Sugich also
     12   observed that Fire Watch was not present at the Property. SDPD received reports of
     13   approximately four juvenile skateboarders entering the building from the north side at about
     14   3 :45 p.m. City staff also met with Defendants' representatives at the Property and again requested
     15   that Defendants clear and secure the buildings and establish new barriers around the Property to
     16   protect pedestrians from objects being thrown from windows and falling off the buildings. CI
     17   Sanchez also observed numerous individuals entering and leaving the buildings. One of the
     18 individuals told CI Sanchez that he had gone inside because he heard a woman calling for help
     19 but could not find her.
     20            73. On or about July 13, 2022, DFM Sugich emailed an inspection report detailing the
     21   violations observed during his July 12, 2022, inspection to Alexander, BEATON, and
     22   Schoenberg. DFM Sugich further wrote, "We visited the site today and fire watch was not in
     23   place .... If the fire watch is not in place by Thursday morning we will start a daily fine of $300.
     24   I want you to be aware that these fines can go up to $2,500 a day per fine .... " On the same day, a
     25   security officer from the City Administrative Building also reported seeing 15 skateboarders
     26   entering the buildings at the Property from the C Street side.
     27            74. On or about July 15, 2022, SCI Monaghan issued Defendants an Administrative
     28   Citation Warning (ACW) in which he identified Municipal Code violations at the Property,
                                                      14
                    COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 22
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.40 Page 40 of 71




      1 including violations of sections 129 .0702 (failure to obtain required Public Right-of-Way Pennit)
      2 and 54.0306 (Abandoned Property Regulations - failure to properly board and secure; failure to
      3   remove litter, waste, rubbish, solid waste, liquid waste, and debris; and failure to maintain the
      4 property in accordance with maintenance standards in Municipal Code section 54.0307). The
      5 ACW also required Defendants to extend the perimeter of fencing into the public right-of-way to
      6 protect pedestrians from falling material. A compliance date of July 25, 2022, was set in the
      7 ACW.
      8          75. On or about July 15, 2022, SCI Monaghan emailed BEATON, Alexander, and Grant
      9 Martin, another representative of Defendants, informing them of the ACW, the Municipal Code
     10 violations, the safety barrier and Public Right-of-Way and Traffic Control Permit (PROW/TCP)
     11 requirements, and the compliance date of July 25, 2022. A PROW/TCP and the associated City
     12 review is necessary to establish requirements for a safe and code compliant pedestrian path of
     13   travel that will protect the public from falling building elements and debris and limit potential
     14   impacts on travel corridors.
     15          76. On or about July 22, 2022, DFM Sugich, while at the Property, stopped three twelve-
     16 year-old boys from entering the extremely dangerous Property.
     17          77. On or about July 26, 2022, CI Sanchez observed smoke coming from a mezzanine on
     18 the second floor of the Property. That same day, DFM Sugich inspected the Property and
     19   observed that the required Fire Watch was still not present. After his inspection, DFM Sugich
     20   emailed Alexander, BEATON, and Schoenberg and informed them of the smoke observed at the
     21 Property and the three 12-year-old boys he stopped from entering the buildings. DFM Sugich
     22 demanded that Defendants immediately station Fire Watch at the Property as the threat to the
     23   public worsened each day.
     24          78. On or about July 27, 2022, City of San Diego Development Services Director Elyse
     25 Lowe (Director Lowe) met with Defendants' representatives and informed them that they must
     26 submit plans and an application to demolish the buildings at the Property by August 5, 2022,
     27 create a falling hazard protection zone around the Property to protect pedestrians, and obtain the
     28 PROW/TCP as previously ordered.
                                                     15
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                      Exhibit 4
                                                                                                       Page 23
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.41 Page 41 of 71




      1          79. On or about August 5, 2022, CED Zoning Investigator Christopher Penman (ZI
      2 Penman) inspected the Property. ZI Penman observed that all Municipal Code violations
      3   remained uncorrected, including the presence of barbed wire; unsecured doors, windows, and
      4 holes in the exterior of the buildings large enough for persons to enter; significant amounts of
      5   graffiti on the exterior wall and windows; and garbage piled up on the north side of the buildings.
      6          80. On or about August 9, 2022, ZI Penman again inspected the Property. He observed no
      7 improvement in the illegal conditions. The Fire Watch was still not present.
      8          81. On or about August 10, 2022, Director Lowe sent a certified letter to Alexander,
      9 stating that Defendants had failed to submit the required demolition plans, application, and
     10   PROW/TCP and establish the required fall hazard protection zone. Director Lowe reiterated the
     11 serious hazard the Property posed to the public.
     12          82. On or about August 11, 2022, DFM Sugich conducted another compliance inspection
     13   of the Property. He observed no improvement. Fire Watch was still not patrolling the Property.
     14          83. On or about August 12, 2022, as the Property was too dangerous to enter, the SDPD
     15 sent a drone into the theater to observe the conditions inside. In the video numerous structural and
     16 life safety issues are visible, including collapsed portions of the walls, ceilings, and mezzanine;
     17 fallen ornamentation; and large chunks of the interior fa9ade and ceiling hanging and waiting to
     18 fall.
     19          84. On or about August 30, 2022, DFM Sugich conducted an exterior inspection of the
     20 Property. The Fire Watch was still not present.
     21          85. On or about August 31, 2022, DFM Sugich conducted an exterior inspection of the
     22 Property. DFM Sugich observed that a Fire Watch was present for the first time at the Property.
     23   All other violations remained uncorrected. DFM Sugich emailed an inspection report to
     24 Alexander and BEATON wherein he stated that the building was unsafe for occupants, based on
     25 the structural assessment and toxic materials present. He ordered that Defendants vacate all
     26 occupants from the building immediately and secure the structure to prevent reentry.
     27          86. On or about September 8, 2022, representatives of the Office of the City Attorney and
     28 of CED met with Defendants' counsel and Defendant HUTTON to discuss the violations present
                                                    16
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                    Exhibit 4
                                                                                                     Page 24
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.42 Page 42 of 71




      1 at the Property and the remediation measures required to comply with the Municipal Code,
      2 including clearing the Property, boarding and security, maintaining a fenced perimeter around the
      3   Property to protect pedestrians from falling hazards, and obtaining the PROW/TCP.
      4          87. On or about September 16, 2022, an SDFD officer observed two transients entering
      5   the Property through an opening in the still unsecure and unsafe building.
      6          88. On or about September 20, 2022, a fire started inside one of the buildings at the
      7 Property. Though Fire Watch was on site, they did not call 911. Five fire engines, two fire trucks,
      8 two Battalion Chief Command vehicles, and one ambulance were ultimately dispatched to the
      9 Property to address the fire. ZI Penman went to the Property following the fire and observed that
     10 the Municipal Code violations, including barbed wire fencing, unsecured openings in the
     11 buildings, and graffiti, were still present. A Deputy City Attorney informed Defendants, through
     12   counsel, of the fire at the Property and the failure of Defendants' Fire Watch to call 911.
     13          89. On or about September 29, 2022, Defendants, through counsel, were reminded that
     14 they must submit an application for the PROW/TCP for fencing around the Property to protect
     15 pedestrians from fall hazards.
     16          90. On or about October 14, 2022, ZI Penman inspected the exterior of the Property and
     17 observed that the Municipal Code violations remained. Defendants were again reminded that a
     18 PROW/TCP application must be submitted.
     19          91. On or about October 28, 2022, ZI Penman inspected the exterior of the Property and
     20   observed that the Municipal Code violations remained.
     21          92. On or about October 31, 2022, Defendants were again informed that they must obtain
     22 a PROW/TCP and that a permit application could easily be opened online.
     23          93. On or about November 2, 2022, more than two years after the City's order to
     24 Defendants to board and secure the Property, Defendants began to clear the building of
     25 occupants.
     26          94. On or about November 16, 2022, the Deputy City Attorney assigned to the case sent
     27 an email to defense counsel stating that it is "essential" that Defendants submit a PROW/TCP
     28 application immediately. "[A]rrangements [have been made] to expedite the permit review and
                                                      17
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                        Exhibit 4
                                                                                                         Page 25
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.43 Page 43 of 71




      1 issuing process. Unless and until plans are submitted and reviewed, the extent of the measures
      2 your client will need to take to address pedestrian safety and traffic control cannot be fully
      3 assessed."
      4          95. On or about November 18, 2022, boarding and securing of the Property was
      5   completed. The serious dangers presented by asbestos, lead, human and animal waste, trash,
      6 mercury, oil, gas canisters, and structural hazards, such as the collapsing ceilings and walls, loose
      7 exterior fac;ade, and corroded roof trusses, remain unabated.
      8          96. On or about November 28, 2022, and again on December 12, 2022, the assigned
      9   Deputy City Attorney again told Defendants to apply for a PROW/TCP.
     10          97. On or about December 12, 2022, Defendants again were told that they must submit the
     11 PROW/TCP application.
     12          98. On or about January 10, 2023, almost six months from the date the City first infonned
     13   Defendants that a permit was required, Defendants submitted a PROW/ TCP permit application.
     14          99. For a period of more than three years, Defendants have maintained the Property with
     15 structurally unsound buildings filled with hazardous materials and waste; unpermitted, broken,
     16 and dilapidated fencing in the public right of way with trash, litter and debris accumulating inside
     17 the fencing; barbed wire on portions of the fence; significant amount of graffiti covering exterior
     18 walls and windows; portions of the exterior fac;ade cracked and threatening to fall onto the
     19 sidewalks below; and crumbling interior walls and ceilings.
     20         100. Despite the hazardous conditions, Defendants left the buildings accessible to the
     21   general public though unsecured doorways, broken windows, and holes in the fac;ade.
     22        101. The dangerous Property became a shelter for transients and a venue for skateboarders,
     23   young explorers, and graffiti artists. Multiple individuals entered and/or lived in the buildings and
     24 were exposed to asbestos, lead, other hazardous materials, and the dangerous and unsanitary
     25   conditions inside.
     26         102. Over an approximately three-year period, Plaintiffs emailed, spoke to, and met with
     27 Defendants to explain the Municipal Code violations at the Property, the dangers to the general
     28 public and occupants, and the remediation measures required to abate the violations. Plaintiffs
                                                      18
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 26
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.44 Page 44 of 71




      1 issued Administrative Warnings, Administrative Citations, and a Notice of Abatement to
      2 Defendants demanding Defendants remediate the dangerous nuisance conditions at the Property.
      3         103. Well aware of the danger the Property poses to the community, Defendants failed to
      4 comply with any of the City's mandates until after they were informed that the City Attorney
      5   would review the case for potential enforcement actions. Even then, Defendants failed to address
      6 the underlying structural and hazardous materials dangers at the Property.
      7         104. The Property remains a public nuisance and fire hazard as the buildings remain
      8 structurally unsound with severely deteriorated and weakened structural members, which per the
      9   Structural Report, commissioned by Defendants, presents a significant and immediate safety risk
     10 and collapse hazard.
     11         105. The cracked and delaminated exterior cast stone ornamentation will continue to fall,
     12 posing an imminent threat to the lives of pedestrians, the surrounding community, and first
     13 responders.
     14         106. Plaintiffs have no adequate remedy at law. Defendants are blatantly and willfully in
     15 violation of state and local laws and will continue to maintain the dangerous condition of the
     16 Property in the future unless the Court enjoins and prohibits such conduct. Absent injunctive
     17 relief, the People of the State of California and the City of San Diego will be irreparably harmed,
     18 and the ongoing violations will continue to harm the public, safety, and welfare of the citizens of
     19   San Diego.
     20                                                    I

     21                                    FIRST CAUSE OF ACTION
     22                  MAINTENANCE OF A PUBLIC NUISANCE IN VIOLATION
                         OF CALIFORNIA CIVIL CODE SECTIONS 3479 AND 3480
     23                  ALLEGED BY PLAINTIFF THE PEOPLE OF THE STATE
                         OF CALIFORNIA AGAINST ALL DEFENDANTS
     24
     25        107. Plaintiff the People of the State of California incorporates by reference all allegations
     26 in paragraphs 1 through 106 of this Complaint as though fully set forth here in their entirety.
     27
     28
                                                     19
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                    Exhibit 4
                                                                                                     Page 27
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.45 Page 45 of 71




      1         108. California Civil Code sections 3479 and 3480 provide:
      2                  Anything which is injurious to health, including, but not limited to,
                         the illegal sale of controlled substances, or is indecent or offensive
      3                  to the senses, or an obstruction to the free use of property, so as to
                         interfere with the comfortable enjoyment of life or property ... is a
      4                  nuisance .... A public nuisance is one which affects ... an entire
                         community or neighborhood ....
      5
      6        109. California Civil Code section 3491 provides for the methods by which public
      7 nuisances such as those alleged in this case may be abated. California Civil Code section 3'491
      8 indicates that the remedies against a public nuisance are indictment or information, a civil action,
      9   or abatement. California Civil Code section 3494 states that "[a] public nuisance may be abated
     10   by any public body or officer authorized thereto by law."
     11         110. California Code of Civil Procedure section 731 authorizes a city attorney to bring an
     12   action to enjoin or abate a public nuisance.It provides, in relevant part: "A civil action may be
     13   brought in the name of the people of the State of California to abate a public nuisance ... by the
     14 city attorney of any town or city in which such nuisance exists."
     15         111. Since at least July 9, 2020, Defendants have maintained structurally unsound buildings
     16 filled with hazardous materials and waste at the Property.
     17        112. Despite the clearly hazardous conditions of the Property, Defendants left the buildings
     18 accessible to the general public.
     19        113. While accessible, the structurally unsound buildings with their toxic contents became
     20 a shelter for transients and a venue for skateboarders, young explorers, and graffiti artists. All
     21 who entered the buildings were potentially exposed to asbestos, lead, and other hazardous
     22 materials. All were at risk of serious injury or death due to the dangers, such as falling
     23   ornamentation, of the structurally unsound buildings at the Property and the real possibility of
     24 collapse.
     25        114. Local businesses also experienced harmful effects, such as loss of business, from the
     26   hazardous and unsanitary condition of and the criminal activity at the Property.
     27
     28
                                                      20
                    COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 28
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.46 Page 46 of 71




      1         115. The criminal and nuisance activity at the Property drained SDPD resources, requiring
      2 a significant number of SDPD responses and occupying more than 400 hours of SDPD out of
      3   service time.
      4         116. Despite clearing and boarding the buildings at the Property, the structurally unsound
      5 buildings remain a hazard to pedestrians, first responders, and the general public.
      6         117. Defendants have had ample time to comply with the City's warnings, citations, Notice
      7 of Abatement, and order to repair or demolish the buildings but have failed to timely comply.
      8         118. Defendants' maintenance of the Property in the condition described above constitutes
      9 a continuing public nuisance as defined by California Civil Code sections 3479 and 3480.
     10 Defendants' Property adversely affects the entire community and neighborhood. The Property as
     11 it currently exists is injurious to the health, safety, and welfare of the residents and families who
     12 live in the community and interferes with the comfortable use and enjoyment of life and property.
     13   Such conditions are objectionable to the neighborhood and community as a whole.
     14         119. Plaintiff has no plain, speedy, or adequate remedy at law. Therefore, unless restrained
     15   by this Court, Plaintiff is informed and believes that Defendants will continue to maintain this
     16 nuisance and thereby cause irreparable injury and harm to the public's health, safety, and welfare.
     17                                                       II
     18                                     SECOND CAUSE OF ACTION
     19                   VIOLATIONS OF THE SAN DIEGO MUNICIPAL CODE
                          ALLEGED BY PLAINTIFF CITY OF SAN DIEGO AGAINST
     20                   ALL DEFENDANTS
     21         120. Plaintiff City of San Diego incorporates by reference all allegations in paragraphs 1
     22 through 119 of this Complaint as though fully set forth here in their entirety.
     23         121. Defendants are each a "Responsible Person" 1 within the meaning of Municipal Code
     24 section 11.0210 for allowing and maintaining violations of the Municipal Code at the Property.
     25
     26
                1 Municipal Code section 11.0210 defines "Responsible person" as "[a] person who a Director
     27 determines is responsible for causing or maintaining a public nuisance or a violation of the Municipal
        Code or applicable state codes. The term 'Responsible Person' includes but is not limited to a property
     28 owner, tenant, person with a Legal Interest in real property or person in possession ofreal property."
                                                      21
                    COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                         Exhibit 4
                                                                                                          Page 29
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.47 Page 47 of 71




      1         122. Defendants are also strictly liable for all code violations existing at the Property
      2   pursuant to Municipal Code section 121.0311 and applicable California law.
      3         123. Municipal Code section 121.0302(a) states: "It is unlawful for any person to maintain
      4   or use any premises in violation of any of the provisions of the Land Development Code2, without
      5   a required permit, contrary to permit conditions ... or without a required variance."
      6         124. Municipal Code section 121.0302(b)(4) states: "It is unlawful .. . [t]o maintain or
      7 allow the existence of any condition that creates a public nuisance." Beginning on an exact date
      8   unknown to Plaintiff, but since at least July 9, 2020, and continuing to the present, Defendants
      9 have maintained a public nuisance at the Property in violation of Municipal Code section
     10   121.0302(b)(4).
     11         125. Municipal Code section 142.0380(a) provides that property owners "shall maintain
     12 fences ... free from dilapidated or dangerous conditions." Beginning on an exact date unknown
     13   to Plaintiff, but since at least July 9, 2020, and continuing to the present, Defendants have
     14 maintained broken and dilapidated fencing at the Property in violation of Municipal Code
     15   sections 142.0380(a) and 121.0302(a).
     16         126. Municipal Code section 142.0360(b) states that "[s]harp-pointed metal fences are
     17   permitted for agricultural uses in agricultural zones only." Beginning on an exact date unknown
     18   to Plaintiff, but since at least July 9, 2020, and continuing through November 2, 2022, Defendants
     19   maintained a sharp-pointed metal fence in an area other than an agricultural zone in violation of
     20   Municipal Code sections 142.0360(b) and 121.0302(a).
     21        127. Municipal Code section 145.0103 adopts the 2019 California Building Code and
     22   incorporates its requirements into the Municipal Code. Beginning on an exact date unknown to
     23   Plaintiff, but since at least July 9, 2020, and continuing to the present, Defendants have
     24   maintained an unsafe structure that fails to comply with the provisions of the 2019 California
     25 Building Code at the Property in violation of Municipal Code sections 145.0103 and 121.0302(a).
     26
                2 Municipal Code section 111.0101 (a) states that Chapters 11 through 14 of the San Diego
     27 Municipal Code "shall be known collectively, and may be referred to, as the Land Development Code"
        and that Chapter 15 of the San Diego Municipal Code "shall [also] constitute a part of the Land
     28 Development Code."
                                                     22
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 30
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.48 Page 48 of 71




      1         128. Municipal Code secti9n 156.0308 prohibits parking lots in the Centre City Planned
      2   District, where the Property is located, without the required Conditional Use Permit. Beginning
      3 on an exact date unknown to Plaintiff, but since at least July 9, 2020, and continuing through
      4   approximately November 2, 2022, Defendants used a portion of the Property as a paid parking lot
      5   in violation of Municipal Code sections 156.0308 and 121.0302(a).
      6         129. Municipal Code section 126.0306 states, "It is unlawful for any person to maintain,
      7 use, or develop any premises without a Conditional Use Permit if such permit is required for that
      8   use ...." Beginning on an exact date unknown to Plaintiff, but since at least July 9, 2020, and
      9   continuing through approximately November 2, 2022, Defendants maintained a use at the
     10   Property without the required Conditional Use Permit in violation of Municipal Code section
     11 126.0306.
     12         130. Municipal Code section 54.0208 states that "[i]t is unlawful for any Responsible
     13 Person to fail to maintain real property and appurtenances under his or her control" and/or any
     14   "public walkway" abutting their property free from Waste. Beginning on an exact date unknown
     15   to Plaintiff, but since at least July 9, 2020, and continuing through November 2, 2022, Defendants
     16   failed to maintain the Property and the abutting public walkways free from Waste in violation of
     17 Municipal Code section 54.0208.
     18         131. Municipal Code section 54.0306(d) states, "It is unlawful for any responsible person
     19   for an abandoned property to fail to lock, barricade or secure all doors, windows and other
     20 openings to any vacant structure on the property in accordance with the standards listed in this
     21   Division." Beginning on an exact date unknown to Plaintiff, but since at least July 9, 2020, and
     22 continuing through November 18, 2022, Defendants failed to lock, barricade or secure all doors,
     23   windows and other openings at the Property in accordance with the Municipal Code in violation
     24   of Municipal Code section 54.0306(d).
     25         132. Municipal Code section 54.0306(e) states, "It is unlawful for any responsible person
     26   for an abandoned property to fail to remove from the entire property including the interior of any
     27 vacant structure, any of the following: litter, waste, rubbish, solid waste, liquid waste, debris,
     28 unpermitted vehicles, storage not incidental to the corresponding zoning use for the property, or
                                                          23
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                     Exhibit 4
                                                                                                      Page 31
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.49 Page 49 of 71




      1 excessive vegetation as determined by a fire inspector to constitute a fire hazard." Beginning on
      2   an exact date unknown to Plaintiff, but since at least July 9, 2020, and continuing to the present,
      3   Defendants have failed to remove litter, waste, rubbish, solid waste, liquid waste, debris, and
      4 storage not incidental to the corresponding zoning use for the property in violation of Municipal
      5   Code section 54.0306(e).
      6        133. Municipal Code section 54.0405(b) states, "It is unlawful for any responsible person
      7 to maintain graffiti that has been placed upon, or to allow graffiti to remain upon, any surface
      8 within that person's control, possession or ownership when the graffiti is visible from the street or
      9   other public property." Beginning on an exact date unknown to Plaintiff, but since at least
     10   July 9, 2020, and continuing to the present, Defendants have allowed graffiti visible from the
     11 public right-of-way to remain on the exterior of the Property in violation of Municipal Code
     12 section 54.0405(b).
     13        134. Plaintiff City of San Diego has no adequate remedy at law, and unless Defendants are
     14   enjoined and restrained by an order of this Court, Defendants will continue to violate the
     15   Municipal Code, thereby causing irreparable injury and harm to the public's health, safety, and
     16   general welfare.
     17                                            PRAYER
     18          WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
     19                              AS TO THE FIRST CAUSE OF ACTION
     20   Public Nuisance
     21          1. That the Property, together with the fixtures and moveable property, be declared a
     22 continuing public nuisance as defined by California Civil Code sections 3479 and 3480.
     23          2. That pursuant to California Code of Civil Procedure sections 526 and 731, the Court
     24 grant a preliminary injunction and permanent injunction, enjoining and restraining Defendants,
     25 their agents, heirs, successors, officers, employees and anyone acting on their behalf from
     26 maintaining the Property or any other property in the City and County of San Diego as a public
     27 nuisance as defined per California Civil Code sections 3479 and 3480.
     28
                                                    24
                  COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 32
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.50 Page 50 of 71




      1           3. If Defendants fail to comply with paragraph 2 of the Prayer above, then within 48
      2 hours after posting written notice of its intention, the City or its contractor is authorized pursuant
      3 to California Civil Code sections 3491 and 3494 to accomplish the work and recover all costs of
      4   abating the nuisance at the Property. The expense of the abatement is recoverable by the City
      5   according to the provisions of California Government Code sections 38773.1 and 38773.5.
      6                             AS TO THE SECOND CAUSE OF ACTION

      7   Violations of the San Diego Municipal Code

      8           4. That the Court declare the Property to be in violation of:
      9                  San Diego Municipal Code sections
     10                  121.0302(a)             121.0302(b)(4)          54.0306(d)              54.0208
                         142.0360(b)             142.0380(a)             54.0405(b)              126.0306
     11                  145.0103                156.0308                54.0306(e)
     12           5. That, pursuant to Municipal Code sections 12.0202(a) and 121.0311, the Court grant a
     13   preliminary injunction and permanent injunction, enjoining and restraining Defendants, their
     14   agents, officers, employees and anyone acting on their behalf, from keeping, allowing, or
     15 maintaining violations of the Municipal Code at the Property or anywhere else in the City of
     16   San Diego.
     17           6. That Defendants, their agents, heirs, successors, officers, employees, and anyone
     18   acting on their behalf, are required to maintain the Property in full compliance with the Municipal
     19   Code.
     20           7. If Defendants fail to comply with paragraphs 5 and 6 of the Prayer above, then within
     21   48 hours after posting written notice of its intention, the City or its contractor is authorized to
     22   accomplish the work and recover all costs of bringing the Property into compliance. The expense
     23   of the abatement is recoverable by the City according to the provisions of California Government
     24   Code sections 38773.1 and 38773.5 and Municipal Code section 12.0204(b).
     25           8. That Defendants allow personnel from the City of San Diego access to the Property to
     26   inspect and monitor for compliance upon 24-hour verbal or written notice. Inspections shall occur
     27   between the hours of 8:00 a.m. and 5:00 p.m.
     28
                                                     25
                   COMPLAINT FOR INJUNCTION, CIVIL PENALTIES AND OTHER EQUITABLE RELIEF




                                                                                                        Exhibit 4
                                                                                                         Page 33
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.51 Page 51 of 71




      1          9. That, pursuant to Municipal Code section 12.0202(b), Defendants are assessed a civil

      2   penalty of $2,500 per day for each and every Municipal Code violation maintained at the

      3   Property.

      4                                 AS TO ALL CAUSES OF ACTION

      5          10. That Plaintiffs recover all costs incuned by Plaintiffs, including the costs of

      6   investigation and any fees authorized by law, from Defendants.

      7          11. That Plaintiffs be granted such other and further relief as the nature of the case may

      8   require and the Court deems appropriate.

      9   Dated: June Jt,     , 2023



     11                                                     By
     12

     13                                                     Attorneys for Plaintiffs
     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
     26

     27

     28
                                                           26
                  COMPLAINT FOR INJUNCTION, CIVIL PENAL TIES AND OTHER EQUlT ABLE RELIEF




                                                                                                       Exhibit 4
                                                                                                        Page 34
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.52 Page 52 of 71




         EXHIBIT 5
     Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.53 Page 53 of 71
                                                                                                                                             123
                                                                                                                                             The
                                                                                                                                             City
                                                                                                                                             Caydon
                                                                                                                                             Matthew
                                                                                                                                             Alex
                                                                                                                                                DFN
                                                                                                                                                PLN
                                                                                                                                                  People
                                                                                                                                                  of
                                                                                                                                                  Beaton
                                                                                                                                                   T
                                                                                                                                                   The
                                                                                                                                                   -The
                                                                                                                                                     he
                                                                                                                                                     San
                                                                                                                                                      San
                                                                                                                                                      USA
                                                                                                                                                       Hutto
                                                                                                                                                        Peo
                                                                                                                                                        Peo
                                                                                                                                                         Die
                                                                                                                                                          ofDP
                                                                                                                                                             H



SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 W Broadway                                                                                                                  CA
                                                                                                                                              San Diego
MAILING ADDRESS:     330 W Broadway
                                                                                                                                             (619) 450-706
CITY AND ZIP CODE:   San Diego, CA 92101-3827
DIVISION:            Central
TELEPHONE NUMBER: (619) 450-7066

PLAINTIFF(S) / PETITIONER(S):              The People of the State of California et.al.

DEFENDANT(S) / RESPONDENT(S): Caydon San Diego Property LLC et.al.


 THE PEOPLE OF THE STATE OF CALIFORNIA VS CAYDON SAN DIEGO PROPERTY LLC [IMAGED]
                                                                                                 CASE NUMBER:
NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE                                                                                     06/14/2023
                           (CIVIL)                                                               37-2023-00024446-CU-MC-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Kenneth J Medel                                                                     Department: C-66

COMPLAINT/PETITION FILED: 06/12/2023

TYPE OF HEARING SCHEDULED                              DATE                   TIME        DEPT          JUDGE
Civil Case Management Conference                       01/05/2024             08:30 am    C-66          Kenneth J Medel


Case Management Conferences (CMCs) may be conducted virtually or in person. Anyone wishing to appear remotely should visit
the "Appearing for Hearings" page for the most current instructions on how to appear for the applicable case-type/department on the
court's website at www.sdcourt.ca.gov.

A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).

All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.

ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                             (CIVIL)




                                                                                                                             Exhibit 5
                                                                                                                              Page 35
       Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.54 Page 54 of 71
                                                                                                                                                     1




                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.
All Civil cases are assigned to departments that are part of the court’s “Imaging Program.” This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).

It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.
On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words “IMAGED
FILE” in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court’s website at www.sdcourt.ca.gov.




                                                                                                                                        Page: 2




                                                                                                                                    Exhibit 5
                                                                                                                                     Page 36
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.55 Page 55 of 71




         EXHIBIT 6
     Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.56 Page 56 of 71


g                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO

                                           ELECTRONIC FILING REQUIREMENTS (CIVIL)


This document includes the San Diego Superior Court’s electronic filing (e-filing) requirements for civil. These requirements
are issued pursuant to Cal Rules of Court, rules 2.250 et seq., Code of Civil Procedure section 1010.6, and San Diego
Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and
Access to Electronic Court Records in Civil and Probate Cases.
Documents that are determined to be unacceptable for e-filing by the court due to e-filing system restrictions or for failure
to comply with these requirements will be rejected, subject to being allowed to be filed nunc pro tunc to the original submittal
date, upon ex-parte application to the court and upon good cause shown.
It is the duty of the plaintiff or petitioner (and cross-complainant) to serve a copy of the San Diego Superior Court General
Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to Electronic Court
Records in Civil and Probate Cases along with a copy of this form, Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409), with the complaint/petition or other case-initiating document (and cross-complaint).
MANDATORY AND PERMISSIVE E-FILING
Effective April 15, 2021, filings submitted by attorneys for represented parties in limited and unlimited civil actions must be
submitted electronically through one of the court’s approved electronic filing service providers (EFSPs), with limited
exceptions for certain documents (see below list of ineligible documents). E-filing is also encouraged, but not mandated,
for self-represented litigants, unless otherwise ordered by the court.
Any request to be excused from the mandatory e-filing requirements must be submitted in writing and may be made by ex-
parte application to the judge or department to whom the case is assigned. The clerk will not accept or file any documents
in paper form that are required to be filed electronically, absent a court order allowing the filing.
All documents e-filed must be electronically served on all parties in the case pursuant to Cal. Rules of Court, rule 2.251(c).
In all e-filed cases, the court will maintain and make available an official electronic service (e-service) list through the court’s
EFSPs. This is the service list the court will use to serve documents on the parties. (See Cal. Rules of Court, rule 2.251(e).)
By filing electronically, the party is consenting to e-service unless the court excuses a party from doing so. Parties must
provide the EFSP with their correct contact information, including an updated email address, in each e-filed case. New
parties must provide the EFSP with their email address for that case within seven (7) days of filing their first document or
joining the case, whichever is earlier. A party whose email address changes must, within seven (7) days of the change,
notify the EFSP, file a Notice of Change of Electronic Service Address (JC Form #EFS-010) electronically, and serve the
notice electronically on all parties required to be served. (See Cal. Rules of Court, rule, 2.251(g)(1).) Failure to keep an
email address updated may result in the court being unable to provide notice to a non-complying party of upcoming
hearings, orders, and other proceedings.
REQUIREMENTS FOR ALL E-FILERS
E-filed documents may only be filed through one of the court’s approved EFSPs. The list of EFSPs may be found on the
court’s website at www.sdcourt.ca.gov under “E-Filing” for the case type to be filed.
E-filers must comply with Cal. Rules of Court, rules 2.250-2.261. Also, all documents e-filed must be in a pdf format using
Adobe Acrobat version 7 or higher, and must be in a text-searchable format (i.e., optical character recognition (OCR)). The
court is unable to accept documents that do not comply with these requirements, nor documents with certain
characteristics, including, but not limited to: forms with fillable fields, a negative image, or an image that is saved as an
‘object’ on the filed document.
E-filers are required to enter all parties listed on the document being filed if the party is not already a part of the case. (If
the e-filer is submitting a new complaint, ALL parties must be entered.) If all parties are not entered, the transaction will
be rejected.
Documents that contain exhibits must be bookmarked, as set forth on the EFSP’s site. Documents not so bookmarked,
including moving papers containing non-compliant exhibits, shall be rejected and/or not considered. (See Cal. Rules of
Court, rule 3.1110(f).)
Exhibits to be considered via a “Notice of Lodgment” shall not be attached to the e-filed “Notice of Lodgment;” instead, the
submitting party must provide the assigned department with copies in paper form of the exhibits with a copy of the “Notice
of Lodgment” that includes the e-filing Transaction ID number noted in the upper right-hand corner.


 SDSC CIV-409 (Rev. 2/23)               ELECTRONIC FILING REQUIREMENTS (CIVIL)                                          Code Civ. Proc., § 1010.6
 Informational Form                                                                                         Cal. Rules of Court, rule 2.250 et seq.
                                                                                                                                       Page 1 of 3




                                                                                                                           Exhibit 6
                                                                                                                            Page 37
       Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.57 Page 57 of 71

Exhibits to declarations that are real objects (i.e., construction materials, core samples, etc.) or other documents (i.e.,
plans, manuals, etc.), which otherwise may not be comprehensibly viewed in an electronic format must be lodged and will
not be filed.
All documents must be uploaded as individual documents within the same transaction unless filing a motion. Example: A
“Request to Waive Court Fees” must be uploaded separately from the document to which it applies (i.e., complaint, answer
or other responsive pleadings, motion, etc.) If filing a notice of motion, all supporting documents may be scanned and
uploaded as one document under a filing that most closely captures the type of motion. All filings and exhibits within these
filings must be bookmarked.
Unless otherwise required by law, pursuant to Cal. Rules of Court, rule 1.201(a), only the last four digits of a social security
or financial account number may be reflected in court case filings. Exclusion or redaction is the responsibility of the e-filer,
not the clerk. (See Cal. Rules of Court, rule 1.201(b)). Failure to comply with this requirement may result in monetary
sanctions pursuant to Cal. Rules of Court, rule 2.30(b).
To maintain confidentiality and ensure all redactions are appropriately applied, it is important that the submitting
party remove metadata. Metadata is hidden information embedded within a document that may reveal a
document’s revision history, earlier drafts, information about the document’s author, file name, file path, date of
creation, etc. This information is still available and accessible even if the document was converted to a PDF. It
is the submitting party’s responsibility to familiarize themselves with metadata and how to remove it properly.
Proposed filings, such as proposed court orders and amended complaints, should be e-filed as an exhibit and then re-
submitted as a separate and new e-filing transaction after the court has ruled on the matter. (See Cal. Rules of Court, rule
3.1312 and SDSC Local Rules, rule 2.1.2(D).)
The court does not require that a version of the proposed order, in an editable word-processing format, be submitted in
accordance with Cal. Rules of Court, rule 3.1312 (c). All documents submitted via e-filing are considered editable; however,
a separate editable version may be submitted to efile@sdcourt.ca.gov.
If e-filing a negotiable instrument pursuant to Cal. Rules of Court, rule 3.1806, the court may, in its discretion, deem the
electronic version the original and order it canceled and merged into the judgment.
Any document filed electronically shall be considered filed with the court when it is first transmitted to the EFSP, and the
transmission is completed, except that any document filed on a day that the court is not open for business, or after 11:59:59
p.m. (Pacific Time) on a day the court is open for business, will be deemed to have been filed on the next court day.
E-filed documents must be correctly named and/or categorized by “Document Type.” The lead document must also be
designated appropriately, as the lead document determines how the transaction will be prioritized in the work queue.
Failure to correctly name the document and/or designate the lead document appropriately may result in a detrimental delay
in the processing of the transaction.
A motion hearing date must be scheduled directly with the independent calendar department by calling the department or
using the court’s motion scheduler application, available at https://racd.sdcourt.ca.gov/. A motion filed without a motion
hearing date, even when a conformed copy of the filing is provided by the court, is not considered scheduled, and the hearing
will not occur.
If a hearing is set within two (2) court days of the time documents are e-filed, the party(ies) must provide copies of the
documents in paper form to the court. Transaction ID numbers must be noted on the documents to the extent it is feasible
to do so. Copies in paper form for ex parte hearings must be delivered directly to the department on or before 12:00 p.m.
(Pacific Time) the court day immediately preceding the hearing date.
E-filers must maintain originals of all documents that are e-filed with the court, including but not limited to those documents
containing signatures, pursuant to Cal. Rules of Court, rule 2.257.
ASSESSMENT OF FILING FEES
When submitting a filing through the EFSP, the e-filer authorizes the EFSP to charge the full amount of the transaction,
including any statutory court fees that may be due. For example, if a stipulation is submitted, along with the statutory filing
fee for stipulations, if there are any outstanding first appearance fees for any or all of the parties due on the case, the clerk
may assess those fees in addition to or instead of the stipulation fee. The EFSP has the sole discretion to determine the
fees charged for using its website or services.
REFUND OF FEES ASSESSED THROUGH THE EFSP
Requests for refunds of fees paid directly to an EFSP as part of an e-file transaction must be submitted directly to the
EFSP. Any such requests made directly to the court will be denied.




 SDSC CIV-409 (Rev. 2/23)               ELECTRONIC FILING REQUIREMENTS (CIVIL)                                       Code Civ. Proc., § 1010.6
 Informational Form                                                                                       Cal. Rules of Court, rule 2.250 et seq.
                                                                                                                                     Page 2 of 3




                                                                                                                      Exhibit 6
                                                                                                                       Page 38
      Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.58 Page 58 of 71

DOCUMENTS INELIGIBLE FOR E-FILING
The following documents are not eligible for e-filing in cases subject to either mandatory or permissive filing, and shall
be filed in paper form:
        • Application for Order Declaring Information on Affidavit of Voter Registration Confidential and Order.
        • Civil Harassment Temporary Restraining Order (TRO)/Restraining Order (RO). (All filings in this case type)
        • Confidential documents lodged conditionally under seal.
        • Elder Abuse TRO/RO. (All filings in this case type)
        • Gun Violence Emergency Protective Order. (All filings in this case type)
        • Gun Violence TRO/RO. (entire case type)
        • Interpleader actions pursuant to Code of Civil Procedure section 2924j.
        • Notice of Appeal of Labor Commissioner.
        • Out-of-State Commission Subpoenas.
        • Private Postsecondary School Violence Prevention TRO/RO. (All filings in this case type)
        • Safe at Home Name Change Petitions. (All filings in this case type)
        • Settlement Conference Briefs (to be lodged only).
        • Subpoenaed Documents.
        • Stand-alone exhibits.
        • Transitional Housing Program Misconduct TRO/RO. (All filings in this case type)
        • Trial Exhibits
        • Undertaking/Surety Bonds.
        • Warrants.
        • Workplace Violence TRO/RO. (All filings in this case type)
   The following documents shall be filed in paper form, unless the court expressly directs otherwise:
       • Documents filed under seal or provisionally under seal pursuant to Cal. Rules of Court, rule 2.551.
       • New Complaints/Petitions filed designating the plaintiff/petitioner as a pseudonym pursuant to Cal. Rules of
            Court, rule 2.551 (any request for a sealing order in connection with such a filing must also be filed in paper
            form).
                o Filings submitted pursuant to Code of Civil Procedure section 367.3.
                o Filings submitted pursuant to Civil Code section 1708.85.
                o Filings submitted pursuant to Code of Civil Procedure section 527.6(v).
                o Filings submitted pursuant to Government Code section 12652.
                o Or any other initial filing wherein sealing orders are requested.
   Be advised that media members have preview access to new unlimited civil complaints before the clerk's office
   processes them. As a reminder, it is the responsibility of the submitting party to ensure filings submitted for
   processing do not contain sensitive information that should not be available to the public.
   DOCUMENTS DISPLAYED ON THE PUBLIC-FACING REGISTER OF ACTIONS
   Any documents submitted for e-filing (and accepted) will be filed and displayed on the San Diego Superior Court’s
   public-facing Register of Actions with the exception of the following documents:
       • CASp Inspection Report.
       • Confidential Cover Sheet False Claims Action.
       • Confidential Statement of Debtor’s Social Security Number.
       • Financial Statement.
       • Disability Accommodation Request and Court’s Response.
       • Defendant/Respondent Information for Order Appointing Attorney Under Service Members Civil Relief Act.
       • Request to Waive Court Fees.
       • Request to Waive Additional Court Fees.
  Documents not included in the list above, that are intended to be kept confidential, should NOT be e-filed with the
  court.
   DOCUMENTS FILED PRIOR TO JUNE 2, 2014, THROUGH FILE&SERVE XPRESS
   Prior to June 2, 2014, construction defect and other cases eligible at that time for e-filing, were filed electronically
   through File&Serve Xpress (fka LexisNexis File&Serve). Documents previously filed through File&Serve Xpress
   continue to be made available for viewing via a File&Serve Xpress subscription through LexisNexis or on the court’s
   internal Coordinated Proceedings (CP)/Judicial Council Coordination Proceedings (JCCP) document viewer kiosk
   located in the Civil Business Office at the Hall of Justice, 330 W. Broadway, Room 225, San Diego, CA 92101.




SDSC CIV-409 (Rev. 2/23)               ELECTRONIC FILING REQUIREMENTS (CIVIL)                                      Code Civ. Proc., § 1010.6
Informational Form                                                                                     Cal. Rules of Court, rule 2.250 et seq.
                                                                                                                                  Page 3 of 3




                                                                                                                    Exhibit 6
                                                                                                                     Page 39
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.59 Page 59 of 71




         EXHIBIT 7
      Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.60 Page 60 of 71
                                                                                                                                       123




                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                               ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2023-00024446-CU-MC-CTL                    CASE TITLE: The People of the State of California vs Caydon San Diego Property LLC


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

           Potential Advantages                              Potential Disadvantages
           • Saves time                                      • May take more time and money if ADR does not
           • Saves money                                       resolve the dispute
           • Gives parties more control over the dispute     • Procedures to learn about the other side’s case (discovery),
             resolution process and outcome                    jury trial, appeal, and other court protections may be limited
           • Preserves or improves relationships               or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court’s ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator’s decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)    ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                 Page: 1




                                                                                                                       Exhibit 7
                                                                                                                        Page 40
        Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.61 Page 61 of 71
                                                                                                                                 Centr
Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court’s ADR webpage at www.sdcourt.ca.gov/adr and click on the
“Mediator Search” to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court’s ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court’s ADR webpage at www.sdcourt.ca.gov/adr or contact the
court’s Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       • In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
       • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.gov/selfhelp/lowcost.




SDSC CIV-730 (Rev 12-10)
                           ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Page: 2




                                                                                                                  Exhibit 7
                                                                                                                   Page 41
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.62 Page 62 of 71




         EXHIBIT 8
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.63 Page 63 of 71




  2                                                                                 MAR 112021
  3                                                                            By: A. Husted, Depu
                                                                                                     ty
  4

  5

  6

  7

  8                  THE SUPERIOR COURT OF THE STATE OF CALI FORNI A
                                  COUNTY OF SAN DIEGO
  9

 10   lN RE PROCEDURES REGARDING                              GENERALORDEROFTHE
      ELECTRONICALLY IMAGED COURT                             PRESIDING DEPARTMENT
 II
      RECORDS, ELECTRONIC FILING, AND                         ORDER NO. 010121-22 (A)
 12   ACCESS TO ELECTRONIC COURT
      RECORDS IN CIVIL AND PROBATE
 13   CASES
 14

 15           THIS COURT FINDS AND ORDERS AS FOLLOWS:

 16                1. ELECTRONIC FILING AND IMAGING PROGRAM

 17           On August I, 20 I.I, the San Diego Superior Cami ("court") implemented an Electronic

 18   Filing and Imaging Pilot Program (the "Program.' or "Imaging Program") designed to reduce

 19   paper filings and storage, facilitate electronic access to civil court files, allow remote electronic

 20   filing ("e-file" or "e-filing ') of papers in civil cases, and ultimately create paperless or electronic

 21   files for civil and other case categories. The Program has since been expanded to other case types.

 22   (See San Diego Local Rule, rule 2.1.4.)

 23           The Program is being implemented in phases:

24            Phase One: The court began scanning all papers in newly filed cases in designated

25    divisions and departments. The imaged documents are stored in an electronic court file that can

26    be viewed in the busin ss offices and are accessible remotely through the "Register of Actions"

27    on the court's website as set f01ih below.         Imaging Program cases that are reassigned or

28




                                                                                                                 Exhibit 8
                                                                                                                  Page 42
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.64 Page 64 of 71




      transferred to a department outside of the Program may be removed from the Program and

  2   converted to a paper filing system.

  3                Phase Two: E-filing access was implemented to allow e-filing by counsel and parties

  4   through the court's e-file service providers in designated case types.

  5                Phase Three: On October 2, 2017, the Imaging Program expanded to small claims cases.

  6   All new small claims cases filed on or after October 2, 20 I 7, are imaged and the documents are

  7   being stored in an electronic court file that is available for viewing in all of the court's business

  8   offices.

  9                Phase Four: E-filing was expanded to allow e-filing by couns I and parties through

 1o   multiple e-filing service providers ("EFSPs") in designated case types.

 11                Phase Five: Due to the COVID-19 pandemic and, pursuant to California Rules of Court
               1
 12   ("CRC '), Appendix I: Emergency Rules Related to COVID-19, rule 3, the court is accelerating

 13   its efforts for the Program.

 14              Accordingly, effective April 15 2021, filings submitted by attorneys for represented

 15   parties in all limited and unlimited civil case types and probate actions must be submitted

 16   electronically through one of the comt's approved e-filing service providers ("EF Ps,,), with

 17   limited exceptions for certain document .         (See , 4 infra.)    Self-represented litigants are

 18   encouraged, but not required toe-file.

 19                   2. THE ELECTRONIC COURT FILE IN IMAGED CASES IS THE OFFICIAL

 20                      COURT RECORD

21             Pursuant to Government Code section 68150 and CRC, rule 2.504, the electronic court

22    file in Imaging Program cases is certified as the official record of the court. The paper filings that

23    are imaged and stored electronically will be physically stored by the court for 30 days after filing,

24    after which time they will be shredded and recycled except for original wills and bonds in probate

25    cases, which will be physically retained by the court for the period required by law. During this

26    30-day period, these documents will not be stored in a manner that will allow a party or its attorney

27    to access them, and access will only be granted by order of the court upon a showing of good

28    cause.
                                                        2




                                                                                                               Exhibit 8
                                                                                                                Page 43
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.65 Page 65 of 71




                               3.       CIVIL AND PROBATE CASES INCLUDED IN THE PROGRAM

      2                   The following cases have been or wiH be imaged and stored in an electronic court file,

      3   and are considered Imag ing Program cases:

      4       a           Civil cases initiated after a particular department or division began participating in the
                  .
      5                   Imag in g Program ;

      6       b           Civil class actions, construction defect cases, Judicial Council Coordinated Proceedings
                      .
      7                   cases, consolidated and coordinated actions where all cases involved are imaged cases,

      8                   and actions that are provisionally complex under CRC, rules 3.400-3.403 (as set forth in

      9                   the Civil Case Cover Sheet).             "Complex cases" include ant itrust/trade regulation, mass

      o                   tort environmental/toxic tort, and securities litigation cases, as well as insurance coverage
                              ,
 1




 11                       claims arising from these case types;

 12           c.          Probate cases filed on or after March 1, 2012, and all act ive probate cases initiated prior

     13                   to March l, 2012;

     14       d.          All new limited and unlimited c ivil and probate cases and,
                                                                                ;
     15      e.           All small claims cases filed on or after October 2, 2017.

     16                        4.       MANDATORY AND PERMISSIVE ELECTRONIC FILING
                                                                                                                                      t
                          Pursuant to CRC, Appendix I Emergency Rules Related to COVID-19, rule 3 the cour 's
     7                                               :                                           ;
 1

     18   inherent supervisory and administrat ive authority and the Presiding Judge's duty to promote
                                                            ;
                                                               f
     J9   access to justice for all members o the public, taking into account the needs of the public and
                                                           t                                    f
 20       comt as they relate to the efficien and effective management o the cotut (CRC, rule                                   10.603),

          and in order to protect the health and safety of the public, cour t personnel, judicial officers, patties,
 2
  1

 22       attorneys, and others it is hereby ORDERED as follows:
                               ,
                           f
 23                       E fective Apri         15, 2021, filings submitted by attorneys fo r represented parties in all
                                             l
 24       limited and unlimited civil case types and probate actions must be submitted electronically

 25       throug h one of the court's approved EFSPs, with limited exceptions for certain documents. E-

 26       filing is also encouraged, but not mandated, for self-rep resented litigants in these case types.

 27                       Furthe        information,   including      the   list   of   documents   excluded   from   the       e-filing
                                    r
                                                                                                                      t     s
 28       req uirement and an approved list of cou11 approved EFSPs can be found on the cour ' website,


                                                                              3




                                                                                                                                           Exhibit 8
                                                                                                                                            Page 44
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.66 Page 66 of 71




      at www. sdcourt .ca.gov. (See San Diego Superior Court ("SDSC") Form Nos. CIV-409, PR-188
  2   fore-filing requirements.)
  3                5. GENERAL E-FILING REQUIREMENTS
  4           Documents can only be electronically filed through court approved EFSPs.                EFSP

  s   information is available on the court's website listed above.

  6           All e-filers shall comply with CRC, rules 2.250-2.261 and California Code of Civil

  7   Procedure ("CCP") § IO I 0.6. All documents e-filed with the couti must be in a text searchable

  s format (i.e., optical character recognition ("OCR")). The court is unable to accept documents that
  9   do not comply with these requirements, or documents with ce1iain characteristics including, but

 10   not limited to: forms with fillable fields, a negative image, or image that is saved as an "object"
 11   on the filed document.
 12           E-filers are required to comply with the San Diego Superior Court's electronic filing
 13   requirements listed in the following forms available on the court's website: CIV-409 ("E-Filing
 14   Requirements (Civil)") and PR-188 ("E-Filing Requirements (Probate)").             These forms also

 15   contain a list of documents that are exempt from the mandatory e-filing requirements, including

 16   those documents that cannot bee-filed ("List of Excluded Documents"). To the extent the List

 11   of Excluded Documents conflicts with any San Diego Superior Court Local Rule ("Local Rule"),

 18   the applicable portions of the Local Rules are repealed and are s11perseded by this General Order

 19   and thee-filing requirements listed in CIV-409 and/or PR-188.

 20           The receipt and filing of documents submitted electronically is governed by CCP 1010.6

 21   and CRC, rule 2.259. The court's filing deadline is 11 :59:59 p.m. (Pacific Time) on court days.

 22   The electronic transmission of a document to the court can take time, so waiting until shortly

 23   before the deadline to electronically transmit a filing is not advised, as it could be received by the

 24   court after 11 :59:59 p.m. and deemed filed the next court day. Per CRC, rule 2.259(a)(4), the

 25   filer is responsible for verifying that the court received and filed any document submitted

 26   electronically. Please see the applicable EFSP's website for filing instructions. To the extent any

 27   Local Rule sets forth a different time deadline for filing electronic documents, the applicable

 28
                                                        4




                                                                                                               Exhibit 8
                                                                                                                Page 45
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.67 Page 67 of 71




      portions of tl1e Local Rules are repealed and are sup r eded by this General Order and thee-filing

  2   requirements listed in CIV-409 and/or PR-188.

  3            Additional and more specific information on electronic filing can be found on the court's

  4   website at www.sdcou1t.ca.gov.

  5

  6   a. Service of Notice: Together with all other documents required by California law to be served,

  7        all parties filing new actions assigned to the Imaging Program must also serve copies on all

  s        parties of the notice of case assignment and any other court generated forms received from

  9        the cou,1 clerk when the case is initiated.

 1o   b.   "lmaged' Identifier: On all pleadings filed after the initial case originating filing, all partie
                                                                                               »
 11        must, to the extent it is feasible to do so, place the words "IMA         ED FILE       in all caps

 12        immediately under the title of tbe pleading on all subsequent pleadings filed in the action.

 13   c. Original Documents: Original underlying documents, other than wills and bonds in probate

 14        cases, that are relevant to a case should not be attached as exhibits to filed documents or filed

 15        in any other manner, as these documents will be imaged and the paper filings destr oyed in

 16        accordance with this Order (except for those documents set forth in paragraph 8.a. below).

           Any original document, other than a will or bond in a probate case, that is included in a filed
 17
 t8        document in a case within the Program will be imaged and destr oyed in accordance with this

 19        Order. Original documents may be lodged with the court, as necessary, under the procedures

 20        set forth in 8. a .(i) below.

 21   d. Proposed Orders: Proposed orders should only be submitted with initial pleadings for an ex

 22        parte hearing and should not be submitted for a law and motion hearing until after the hearing
                        ,

 23        is completed.

 24   e. Exhibits: Any exhibits attached to a pleading presented for filing must have the exhibit tabs

 25        located at the bottom of the respect ive documents, in accordance with CRC, rule 3 . 111 0, and

 26        each exhibit must be preceded by a cover page that contains sole ly the word "Exhibit" and

 27        the exhibit's identifying number or letter.

 28

                                                         s




                                                                                                               Exhibit 8
                                                                                                                Page 46
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.68 Page 68 of 71




           f. Confidential Documents: Any docum nts clas ified or considered confidential pursuant to
      2       statute, rule of court or local rule shall be filed with the court and will be imaged and destroyed
      3       in accordance witb this order. Acee      to the imaged confidential document(s) shall be as set
  4           forth in paragraph 9.d. below.
  5        g. Electronic Service: By filing electronically, the pa1ty is consenting to electronic service,
  6           unless the court excuses a party from doing so. Parries must provide the EFSP with th ir
  7           correct contact information, including an updated email address, in each e-filed case. New
  8           parties must provide the FSP with their email address for lhat case within seven (7) days of
  9           filing their first document or joining the case, whichever is earlier. A party whose electronic
 10           service email address changes must, within seven (7) days of the change, notify the EFSP, file
 11           a "Notice of Change of Electronic Service Address" (Judicial Council ("JC") Form #EFS-
 12           010) electronically, and serve this notice elech·onically on aJI parties required to be served.
 13           (See Cal. Rules of Court, rule, 2.251 (g)( l ).) Failure to keep an email address updated may
 14           result in the cout1 being unable to provide notice to a non-complying party of upcoming
 15           hearings, orders, and other prnceedings. An email address used to file documents will be
 16          presumed valid if a party has not filed and served notice that the address is no longer valid.
 17        h. Original Documents: E-filers must maintain originals of all documents that are e-filed with
 J8          the court, including but not limited to those documents containing signatures, pursuant Rule
 19          2.257.
 20                   7. REQUIREMENTS SPECIFIC FOR CIVIL CA ES OTHER THAN PROBATE:
 21       a. Lodged Documents:
 22              The "Notice of Lodgment" itself must be filed with the court. In accordance with CRC,
 23       rule 3.1302, the documents submitted with the notice must be lodged and not filed. The lodged
 24       documents will not be imaged, will not be part of the official court file, and will be returned in
25        the manner requested or recycled if no manner ofreturn is specified.
 26       b. Documents in Support of Judgments:
 27              Applications for entry of a judgment that include an instmm nt, contract or written
28        obligation will have the relevant document(s) cancelled and merged if the judgment is entered, in
                                                            6




                                                                                                                Exhibit 8
                                                                                                                 Page 47
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.69 Page 69 of 71




      accordance with CRC, rule 3.1806, after which the document will then be imaged and maintained

  2   in the electronic court r cord. The submitted document(s) will then be retumed to the proffering

  3   party for safe-keepjng. Parties must provide a suitable method ofreturn along with the submitted

  4   docw11ent(s). If no method of return is included the document(s) will be shredded and recycled.

  5                    8. REQUIREMENTS SPECIFIC FOR PROBATE CASES:

  6    a. Filing/Lodging Documents for CaJendared Matters:

  7           1.       The Notice of Lodgment itself must be filed with the court. In accordance with CRC,

  8                    rule 3.1302 and Local Rule 4.3.3, the documents submitted with the notice must be

  9                    lodged and not filed. The lodged documents will not be pa1t of the official cou1t file,

 10                    and will be returned in the manner requested or recycled if no manner of return is

 11                    specified.

 12          11.       A party filing a petition, motion or other paperwork that refers to a trust must file a

 13                    copy of the trust under a "Trust Coversheet' in accordance with Local Rule 4.3.3.

 14         111.       In support of an accounting of a sets as required by Probate Code section 2620 or an

 15                    interim accounting required by Local Rule 4.15.2, the account statements closing

 16                   escrow statements, and bi 11 statements for a residential or long-term care facility may

 17                   be filed with the court, under a ''Financial Statement Coversheet" Alternatively,

 1s                   originals may be lodged in accordance with the procedures in paragraph 8.a.(i) above.

 19                   The lodged documents will not be part of the official court file, and will be returned

 20                   in the manner requested after the court's determination of the accounting has become

 21                   final.

 22    b. Inclusion of Petition's Register of Action Number on All Pleadings:

 23                Parties are ordered to comply with Local Rule 4.3. I and include the petition's register of

 24   action ("ROA") number directly below the case number on all subsequently filed pleadings

 25   related to that petition.

 26   Ill
 27   Ill
 28   Ill
                                                            7




                                                                                                             Exhibit 8
                                                                                                              Page 48
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.70 Page 70 of 71




                        9. ENHANCED ELECTRONIC ACCESS TO OFFICIAL COURT FILE AND
  2                         COURT DOCUMENTS IN ALL lMAGED CASES
  3    a. Access in Clerk's Business Offices: Public kiosks providing free access to the official
  4          electronic record of the comt files for cases being handled under the Program are available in
  5          the below business offices:
  6      •          Hall of Justice Civil Business Office, 330 West Broadway, San Diego, California 92101;
  7      •          East County Family Business Office, 250 E. Main Street, El Cajon, California, 92020;
  8      •          South County Family Business Office, 500 Third A venue, Chula Vista, California, 91910;
  9      •          Central Courthouse, Probate Business Office, 1100 Union Street, San Diego, California,
 10                 92101;and
 11      •          No1th County Civil Business Office, 325 S. Melrose Drive, Vista, California, 92081.
 12                 The public may access these files and view all public po1iions of the files just as they
 13   currently can in the paper court files. Ifthere are people waiting to use the kiosks, a time limit of
 14   15 minutes will be imposed. Additional time will be permitted after waiting in line to use one of
 15   the kiosks again. Any changes to this policy will be made by the Presiding Judge of the court and
 16   the new policy will be posted in the applicable business offices.
 17   b. Notice Regarding Electronic Access: In accordance with CRC, rule 2.504, the public
 I8      accessing court records electronically, are advised that the Manager of Central Court Civil
 19      and Small Claims Operations is the court staff member who may be contacted about the
20       requirements for accessing the court's records electronically in all divisions of the court
21       supporting imaging and e-filing.
22    c. Copyright and other proprietary rights may apply to information in a case file, absent express
23       grant of additional rights by the holder of the copyright or other proprietary right. In this
24       regard, you are advised:
25             i.      Use of such information in a case file is permissible only to the extent permitted by
26                     law or court order; and,
27            11.      Any use inconsistent with proprietary rights is prohibited.
28
                                                            8




                                                                                                               Exhibit 8
                                                                                                                Page 49
Case 3:23-cv-01296-LAB-DDL Document 1 Filed 07/14/23 PageID.71 Page 71 of 71




      d. Access to Confidential Documents: Court documents classified or consldered confidential
  2      pursuant to statute or rule of court shall remain confidential and may not be released except

  3      to the extent nece sary to comply with the law.
  4   e. The electronic records of cases within th Program availabl for viewing in the business
  5      offices are the official record of the court. There is no charge for accessing or viewing court
  6      files in the business offices. Copies, including certified copies of any documents in an
  7      electronic court file may be obtained by paying the applicable fee. The court's Fee Schedule"
  8      is available online on the court's website at www.sdcourt.ca.gov. (See DSC Form No.
  9      ADM-00 I). Additional instructions about obtaining printed copies of record from the
 10     electronic file will be provided at the kiosk locations in the app.licable business offices;
 11      instructions are also available onHn at the court s website listed abov .
 12   f. Any person who willfully destroys or alter any court record maintained in electronic form is
 13     subject to the penalties imposed by Government Code section 6201.
 14   g. No person shall photograph or otherwise record any digital images of documents displayed

 15     on the kiosk screens in the business offices.
 16   h. Remote Electronic Access of Program Ca es: Court documents from records of cases within
 17     the Program are available in electronic format for viewing and printing remotely to the extent
 18     permitted by California law and/or CRC, rule 2.503(b), by visiting the cou11·'s website and

 19     paying the required fees. (See SOS Form No. ADM-001 for the cout1's "Fee Schedule').
20          This Order shall expire on Dec mber 3 I 2021 Lmless otherwise ordered by this court.
21
22    IT IS SO ORDERED.
23
24    DATED: March 11 2021
                                                   HO�.ALKSNE
25                                                 PRESIDING JUDGE
26
27
28
                                                        9




                                                                                                           Exhibit 8
                                                                                                            Page 50
